                            In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                         WILLIAM WHITED

                           December 21, 2017




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KULAKOWSKI vs WESTROCK SERVICES




 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · VIDEOTAPED DEPOSITION OF

 · · · · · · ·WILLIAM LEE "TOMMY" WHITED

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · December 21, 2017

 · · · · · · · ·Commencing at 9:14 a.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The videotaped deposition of WILLIAM
·2·   For the Plaintiff:
                                                                      ·2· LEE "TOMMY" WHITED was taken on behalf of the
·3·   · · · · ·HEATHER MOORE COLLINS
· ·   · · · · ·ANNE HUNTER                                            ·3· Plaintiff on December 21, 2017, in the offices of
·4·   · · · · ·PAIGE LYLE
                                                                      ·4· Barrett Johnston Martin & Garrison, 414 Union
· ·   · · · · ·Collins & Hunter
·5·   · · · · ·7000 Executive Center Drive                            ·5· Street, Suite 900, Nashville, Tennessee, for all
· ·   · · · · ·Building 2, Suite 320
                                                                      ·6· purposes under the Federal Rules of Civil Procedure.
·6·   · · · · ·Brentwood, Tennessee· 37027
· ·   · · · · ·(615) 724-1996                                         ·7· · · · · · · ·The formalities as to notice, caption,
·7·   · · · · ·heather@collinshunter.com
· ·   · · · · ·anne@collinshunter.com                                 ·8· certificate, et cetera, are waived.· All objections,
·8·   · · · · ·paige@collinshunter.com                                ·9· except as to the form of the questions, are reserved
·9
· ·   For the Defendant:                                              10· to the hearing.
10                                                                    11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH
11·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete            12· being a Notary Public and Court Reporter for the
· ·   ·   ·   ·   ·   ·1010 SunTrust Plaza                            13· State of Tennessee, may swear the witness, and that
12·   ·   ·   ·   ·   ·401 Commerce Street
· ·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219                    14· the reading and signing of the completed deposition
13·   ·   ·   ·   ·   ·(615) 320-5200                                 15· by the witness are reserved.
· ·   ·   ·   ·   ·   ·mdohner@constangy.com
14                                                                    16
15·   For     the     Witness:                                        17
16·   · ·     · ·     ·DOUG JOHNSTON
· ·   · ·     · ·     ·Barrett Johnston Martin & Garrison             18
17·   · ·     · ·     ·414 Union Street                               19
· ·   · ·     · ·     ·Suite 900
18·   · ·     · ·     ·Nashville, Tennessee· 37219                    20
· ·   · ·     · ·     ·(615) 244-2202                                 21· · · · · · · · · · · · · * * *
19·   · ·     · ·     ·djohnston@barrettjohnston.com
20                                                                    22
21·   Also Present:                                                   23
22·   Sophia Gordon, Videographer
23                                                                    24
24                                                                    25
25

                                                             Page 3                                                             Page 5
·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · · P R O C E E D I N G S
·2· · · · · · · · · INDEX OF EXAMINATIONS                             ·2·   · · · · · · ·VIDEOGRAPHER:· We are now on the
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page
                                                                      ·3·   record.· The time on the monitor is 9:14 a.m.
·4· Examination By Ms. Collins ........................6
                                                                      ·4·   Today's date is December 21st, 2017.· This marks
·5· Examination By Ms. Dohner Smith ..................60
                                                                      ·5·   the beginning of Disk 1 of the deposition of William
·6· Examination By Ms. Collins .......................82
·7· Examination By Ms. Dohner Smith ..................85
                                                                      ·6·   Tommy Whited.
·8· Examination By Mr. Johnston ......................86
                                                                      ·7·   · · · · Would counsel please introduce yourselves
·9                                                                    ·8·   and state whom you represent.
10                                                                    ·9·   · · · · · · ·MS. COLLINS:· Heather Collins for the
11                                                                    10·   plaintiff.
12                                                                    11·   · · · · · · ·MS. DOHNER SMITH:· Mary Dohner -- oh,
13· · · · · · · ·PREVIOUSLY MARKED EXHIBITS                           12·   sorry.· We've got co-counsel.
· · · · · · · · · · PRESENTED TO WITNESS                              13·   · · · · · · ·MS. HUNTER:· Anne Hunter for plaintiff.
14                                                                    14·   · · · · · · ·MS. LYLE:· Paige Lyle for plaintiff.
15· Exhibit· · · · Description· · · · · · · · · · · Page
                                                                      15·   · · · · · · ·MS. DOHNER SMITH:· Mary Dohner Smith on
16· No. 24· ·8/30/16 Whited Separation Notice ........23
                                                                      16·   behalf of the defendant.
· · · · · · ·Bates WestRock 000246
                                                                      17·   · · · · · · ·MR. JOHNSTON:· Doug Johnston on behalf
17
                                                                      18·   of the witness.
18
19
                                                                      19·   · · · · · · ·VIDEOGRAPHER:· Would the court reporter
20                                                                    20·   please swear in the witness.
21                                                                    21·   · · · · · · · · · · · · * * *
22· · · ·Reporter's Note:· All proper names in the                    22·   · · · · · · ·WILLIAM LEE "TOMMY" WHITED
23· · · ·transcript are spelled phonetically, unless                  23·   was called as a witness, and after having been first
24· · · ·spelling is provided by counsel or witness.                  24·   duly sworn, testified as follows:
25                                                                    25


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·1·   · · · · · · · · E X A M I N A T I O N                   ·1·   A· · · ·Yes, that's correct.· Prior to that, it was
·2·   BY MS. COLLINS:                                         ·2·   kind of split between the two.
·3·   Q· · · ·Good morning.· Could you state your complete    ·3·   Q· · · ·What was the percentage prior to that?
·4·   name for the record, please?                            ·4·   A· · · ·You know, it's really difficult to say. I
·5·   A· · · ·William Lee Whited.                             ·5·   was back and forth between the two.· I probably
·6·   Q· · · ·And Mr. Whited --                               ·6·   spent 70 percent of my time at the sheet plant.
·7·   A· · · ·I'm sorry.· They call me Tommy.                 ·7·   Q· · · ·When did y'all get that piece of equipment
·8·   Q· · · ·Okay.· Mr. Whited, what is your address?        ·8·   so that you started spending more time at the
·9·   A· · · ·I live at 271 Greenfield Lane, in               ·9·   fulfillment center?
10·   Castalian Springs, Tennessee.                           10·   A· · · ·The piece of equipment was delivered during
11·   Q· · · ·What is that zip code?                          11·   the holidays, and we started installation on
12·   A· · · ·37031.                                          12·   January 4th of 2016.
13·   Q· · · ·And what is your phone number?                  13·   Q· · · ·Who was your immediate supervisor?
14·   A· · · ·My cell phone number is (615)948-1956, and I    14·   A· · · ·Tom Pedine.
15·   do not have a landline at home.                         15·   Q· · · ·In the hierarchy at WestRock, were you the
16·   Q· · · ·Okay.· What is your date of birth?              16·   highest ranking management official at the Gallatin
17·   A· · · ·April 3rd, 1953.                                17·   facility?
18·   Q· · · ·Are you currently employed?                     18·   A· · · ·On a daily basis, yes.
19·   A· · · ·I am not.                                       19·   Q· · · ·How often was Tom Pedine at the Gallatin
20·   Q· · · ·Where was -- where were you last employed?      20·   plant in 2015/2016?
21·   A· · · ·With WestRock.                                  21·   A· · · ·I'm going to have to guess.· I don't
22·   Q· · · ·When did that employment end?                   22·   remember exactly, but Tom probably visited the plant
23·   A· · · ·That was August 30th of 2016.                   23·   three or four times.
24·   Q· · · ·Okay.· At the time that you were terminated,    24·   Q· · · ·Who was the HR person assigned to the
25·   what was your job title?                                25·   Gallatin plants in 2015/2016?
                                                     Page 7                                                        Page 9
·1·   A· · · ·I was the general manager for the Gallatin      ·1·   A· · · ·Helen Kendall was the HR representative for
·2·   plant operations.                                       ·2·   the plant.
·3·   Q· · · ·The Gallatin plant operations, that refers      ·3·   Q· · · ·What was Ms. Kendall responsible for as the
·4·   to two facilities, the sheet plant and the              ·4·   HR representative?
·5·   fulfillment center, correct?                            ·5·   A· · · ·Helen actually was the -- my -- she doubled
·6·   A· · · ·That's correct.                                 ·6·   as the office assistant, the administrative
·7·   Q· · · ·Okay.· How long were you in that position?      ·7·   assistant.· She was responsible for keeping the
·8·   A· · · ·I took that position in, I believe it was       ·8·   payrolls, taking care of employee files, managing
·9·   1986.                                                   ·9·   inventory reporting to the home office, a number of
10·   Q· · · ·Of those two facilities, where was your         10·   things along those lines.
11·   office located?                                         11·   Q· · · ·Could people also make complaints if they
12·   A· · · ·Actually, my office was at the sheet plant.     12·   were having problems with another employee to Helen?
13·   Q· · · ·Okay.· How much time in the last two years      13·   A· · · ·They could go to Helen and she certainly had
14·   of your employment did you spend at the fulfillment     14·   the authority to report them to the business unit HR
15·   center?                                                 15·   rep and the area and regional reps.
16·   A· · · ·The majority of my time in that -- in the       16·   Q· · · ·Who was the business unit HR rep?
17·   last year was probably at the fulfillment center.       17·   A· · · ·Terri Henley is the business unit.· Or she
18·   Q· · · ·Why was that?                                   18·   was.· I assume she still is.
19·   A· · · ·We had taken on some -- an account for GE,      19·   Q· · · ·How often did Ms. Henley come out to the
20·   General Electric, piece of business there that          20·   Gallatin facilities in 2015?
21·   required the installation of a one of a kind piece      21·   A· · · ·I'm guessing again, but I remember a couple
22·   of equipment that -- and I was asked by my boss to      22·   of times that she visited the plant.
23·   get it up and running and make the thing successful.    23·   Q· · · ·When Ms. Henley would come out to the
24·   Q· · · ·Okay.· And so that was in 2016 that you         24·   Gallatin plants, what was typically the purpose of
25·   spent most of your time at the fulfillment center?      25·   her visit?


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·1·   A· · · ·Usually we'd talk about training or --          ·1·   harassment during that time frame?
·2·   that's really all -- the only thing I remember her      ·2·   A· · · ·I truly don't recall any.
·3·   coming for in 2015 was training.                        ·3·   Q· · · ·As a WestRock manager, did you have to do
·4·   Q· · · ·What kind of training?                          ·4·   any sort of online courses for -- that related to
·5·   A· · · ·We were changing some of our -- putting in      ·5·   your sexual harassment policies?
·6·   kiosks and those type things, and I think she was       ·6·   A· · · ·We did some online courses, and I do not
·7·   there to work with Helen on some of that type of        ·7·   remember what all of the makeup of those things
·8·   stuff.                                                  ·8·   were.· There were a number of them that we did.
·9·   Q· · · ·Kiosks for what?                                ·9·   Q· · · ·When you did those, did you have to sign off
10·   A· · · ·For employees to be able to do the employee     10·   saying that you did that?
11·   surveys and those type things.                          11·   A· · · ·I did.
12·   Q· · · ·Were the employee surveys just done on an       12·   Q· · · ·Okay.· Who maintained the employee files out
13·   annual basis?                                           13·   at the Gallatin facilities?
14·   A· · · ·Yes.                                            14·   A· · · ·I'm sorry?
15·   Q· · · ·Were they done at a specific time each year?    15·   Q· · · ·Who maintained the employee files out at the
16·   A· · · ·They were.· They came about during a certain    16·   Gallatin --
17·   period, and I'm not sure exactly what that period       17·   A· · · ·That was Helen.· Helen Kendall.
18·   was.                                                    18·   Q· · · ·What about your file?· Was that also
19·   Q· · · ·Okay.· What about 2016?· Was her presence at    19·   maintained out at Gallatin or was that maintained at
20·   the plant about the same?                               20·   a regional office, to your knowledge?
21·   A· · · ·No.· Actually, she -- it increased.· She --     21·   A· · · ·You know, to my knowledge, it was -- it was
22·   she was there more often.                               22·   maintained outside the plant.· Corporate, I think,
23·   Q· · · ·Why was she there more often in 2016?           23·   is where the -- our files were.· Now, that's to the
24·   A· · · ·I -- I did ask that question, and she told      24·   best of my knowledge.· I can't swear that that's
25·   me she was just there to -- a couple of times she       25·   where they were.
                                                    Page 11                                                       Page 13
·1·   told me she was just there because she was going to     ·1·   Q· · · ·And when you say corporate, where are you
·2·   Murfreesboro and she wanted to stop by and visit and    ·2·   referring to?
·3·   she was just killing some time.                         ·3·   A· · · ·Our home office was in Norcross, Georgia.
·4·   Q· · · ·Was that around the end of 2016, when she       ·4·   Q· · · ·A moment ago you mentioned surveys.· When
·5·   was conducting an investigation, or was that in         ·5·   the employees did these annual surveys, did you
·6·   general, she was just around more?                      ·6·   receive a summary of the results of those surveys?
·7·   A· · · ·Probably started to see some of the -- her      ·7·   A· · · ·Yes.
·8·   coming by in midyear.                                   ·8·   Q· · · ·What sort of information did the summary
·9·   Q· · · ·Okay.· Who would she typically meet with        ·9·   provide?
10·   when she would come out?                                10·   A· · · ·It was primarily a rating on a variety of
11·   A· · · ·She would -- she would see Helen, see           11·   topics that told us how we were doing.
12·   myself.· And I can't tell you who else she met with.    12·   Q· · · ·Did you get any specific feedback other than
13·   I just don't know.                                      13·   a rating?· Like examples of comments employees had
14·   Q· · · ·Okay.· When she would come out, would she go    14·   made without --
15·   to both facilities, to your knowledge?                  15·   A· · · ·Yes.· There was a comment section in the --
16·   A· · · ·I know she would sometimes.· I can't tell       16·   at the -- I think it was at the end of the survey,
17·   you if she always did or not.· I wouldn't know the      17·   there were comments in there.
18·   answer to that.                                         18·   Q· · · ·Would it identify who had made the comment?
19·   Q· · · ·At the Gallatin plants -- and I'm               19·   A· · · ·Would it -- as far as having their names?
20·   specifically sort of narrowing it down to the           20·   Q· · · ·Yes.
21·   2015/2016 time frame -- did y'all have any sort of      21·   A· · · ·No, no.
22·   specific training for employees, non-management         22·   Q· · · ·As the -- as the general manager of the
23·   employees, for sexual harassment?                       23·   Gallatin facilities, were you typically made aware
24·   A· · · ·I do not recall any.                            24·   of complaints, of employee complaints?
25·   Q· · · ·Did management have training for sexual         25·   A· · · ·I -- I can't tell you that I was aware of


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·1·   all complaints, because I don't know what all of        ·1·   frame?
·2·   them may have been.· It was -- if there were            ·2·   A· · · ·The one that I just mentioned is really
·3·   complaints, I was certainly made aware of some          ·3·   the -- it's the only one I recall.
·4·   complaints.· Whether or not it was all of them, I       ·4·   Q· · · ·When you said you would look into a
·5·   can't answer that for you.                              ·5·   complaint, what do you mean by that?· What would you
·6·   Q· · · ·Who would make you aware if a complaint had     ·6·   do?
·7·   been made?                                              ·7·   A· · · ·As with that particular complaint, I really
·8·   A· · · ·Generally, that would come from my plant        ·8·   didn't have to look into it, because I'd already
·9·   manager, and that was Larry Eden.                       ·9·   addressed the situation from it.· If there was --
10·   Q· · · ·What about global hotline complaints?· Were     10·   and that's really the only one that I had at that
11·   you made aware of those?                                11·   time.· I had already taken care of that.
12·   A· · · ·Not through Larry Eden, no.· Any -- those       12·   Q· · · ·Okay.· Did you communicate to the employees
13·   type things, if I heard anything about them, it         13·   at the Gallatin plants that if complaints were made,
14·   would be through Terri Henley, yes, Terri Henley,       14·   you would know about them?
15·   the HR rep for the business unit.                       15·   A· · · ·No, I did not tell them that.
16·   Q· · · ·How would she notify you of a global hotline    16·   Q· · · ·Did you at any point in the -- from 2014 to
17·   complaint that pertained to the Gallatin plants?        17·   2016, discourage employees from making complaints?
18·   A· · · ·Terri talked to me about one, and if I --       18·   A· · · ·No.
19·   the best of my recollection was that it was on one      19·   Q· · · ·While working for WestRock or its
20·   of her visits that we talked about it.                  20·   predecessor, RockTenn, were you disciplined for any
21·   Q· · · ·Tell me about that.                             21·   sort of policy infraction that involved harassment
22·   A· · · ·The complaint was -- had to do with a           22·   or a violation of the code of conduct?
23·   forklift driver that had a -- felt like he had been     23·   A· · · ·No.· I've not been disciplined for any of
24·   not adhered to over some of his concerns about          24·   that, no.
25·   loading a truck.                                        25·   Q· · · ·Have you been disciplined for anything in
                                                    Page 15                                                       Page 17
·1·   Q· · · ·Who was that?                                   ·1·   the past ten years?
·2·   A· · · ·The lift driver?                                ·2·   A· · · ·No.
·3·   Q· · · ·Yes.                                            ·3·   Q· · · ·Were you made aware that in 2013 a complaint
·4·   A· · · ·His name was Tommy Davis.· But, now, he was     ·4·   of sexual harassment was made against you through
·5·   not the one who made the complaint.                     ·5·   the global hotline?
·6·   Q· · · ·Who made the complaint?                         ·6·   A· · · ·No.
·7·   A· · · ·I don't know who made the complaint.· It was    ·7·   Q· · · ·Did anyone discuss that with you?
·8·   an anonymous complaint.· Well, I say it was             ·8·   A· · · ·No.
·9·   anonymous.· As far as I know, it was anonymous. I       ·9·   Q· · · ·So no one asked you about any allegations of
10·   was never told who made the complaint.                  10·   sexual harassment in 2013?
11·   Q· · · ·Would Ms. Henley or anyone else in HR ever      11·   A· · · ·No.· Not that I remember, no.
12·   provide you with a copy of the global hotline           12·   Q· · · ·Well, you'd probably recall something like
13·   complaint --                                            13·   that, wouldn't you?
14·   A· · · ·No.                                             14·   A· · · ·I would certainly think so, but no.
15·   Q· · · ·-- as it came to them?                          15·   Q· · · ·To your knowledge, had any employee or
16·   A· · · ·No.                                             16·   subcontractor of WestRock made a complaint of sexual
17·   Q· · · ·Was it typically just a verbal communication    17·   harassment against you?
18·   that a complaint was made?                              18·   A· · · ·No.
19·   A· · · ·Yes.                                            19·   Q· · · ·What was your understanding of the reasons
20·   Q· · · ·Did you discuss that with the employees,        20·   why you were terminated?
21·   that you got -- you were notified of complaints that    21·   A· · · ·Well, I was never given any reasons.
22·   were made at the Gallatin plants?                       22·   Q· · · ·Tell me what you were told.
23·   A· · · ·I would look into the -- into the complaint,    23·   A· · · ·The day that -- the day that I was
24·   yes.                                                    24·   terminated, I asked for a specific reason for the
25·   Q· · · ·How many were made in the 2015/2016 time        25·   termination, and I was told that there had been a


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·1·   complaint, there had been an investigation, I was       ·1·   from there to the sheet plant, Melinda had made a
·2·   asked some questions, and that there was no point       ·2·   call by the time we got to the sheet plant, and when
·3·   rehashing it.                                           ·3·   we got there, she told me that it didn't matter if I
·4·   Q· · · ·Who told you that?                              ·4·   resigned or was terminated, that I wasn't entitled
·5·   A· · · ·That was Jeb Bell.                              ·5·   to anything.· And at that point, I told Melinda,
·6·   Q· · · ·Who else was there on the day you were          ·6·   then you just terminated me, then.
·7·   terminated?                                             ·7·   Q· · · ·Before y'all got to the sheet plant and you
·8·   A· · · ·Tom Pedine, Melinda McGraw, and Terri           ·8·   cleaned out your desk and she had that phone
·9·   Henley.                                                 ·9·   conversation, had you been given a separation
10·   Q· · · ·Did they give you the opportunity to resign     10·   notice?
11·   in lieu of termination?                                 11·   A· · · ·No.
12·   A· · · ·They did.                                       12·   Q· · · ·That day were you given a separation notice?
13·   Q· · · ·And who said that you could resign instead      13·   A· · · ·No.
14·   of being terminated?                                    14·   Q· · · ·Have you ever been provided a separation
15·   A· · · ·Jeb Bell.                                       15·   notice?
16·   Q· · · ·What did you say to that?                       16·   A· · · ·I have.· It was the following day.
17·   A· · · ·My -- well, actually, I had a question          17·   Q· · · ·Who did you receive that from?
18·   regarding that.· And my question was simply, what       18·   A· · · ·Received that from Melinda McGraw.
19·   was going to be best for me from a financial            19·   Q· · · ·In person or by mail?
20·   standpoint.· And the -- there was a lot of confusion    20·   A· · · ·In person.
21·   about that.                                             21·   Q· · · ·Where did you receive -- where were y'all?
22·   · · · · Without going into, you know, a long drawn      22·   A· · · ·We were back at the conference room at
23·   out something for you, I really didn't get -- didn't    23·   fulfillment.
24·   get a satisfactory answer about things such as the      24·   Q· · · ·So, was this on August 31st?
25·   bonus that I -- that would have come at the end of      25·   A· · · ·Thirty-first.
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·1·   September, these type things.· So, as I asked -- and    ·1·   Q· · · ·The day after you were -- they notified you
·2·   I don't want to bore you with a lot of detail, but      ·2·   of your termination?
·3·   it was evident that I couldn't get answers.· So I       ·3·   A· · · ·Yes.
·4·   wasn't looking to resign.· Told them they could         ·4·   Q· · · ·Did she ask you to come out there to meet
·5·   terminate me.· Now, that took place with Melinda        ·5·   her to get the separation notice?
·6·   McGraw a little bit later.                              ·6·   A· · · ·I believe that was -- I can't recall if she
·7·   Q· · · ·Not during the meeting with --                  ·7·   asked me to come out for that or not, to be
·8·   · · · · · · ·(Overlapping speech.)                      ·8·   perfectly honest with you.
·9·   A· · · ·Not during that meeting, no.                    ·9·   Q· · · ·Why would you have been out there the day
10·   Q· · · ·Okay.· Was that a phone call with Melinda       10·   after you were terminated?
11·   McGraw?                                                 11·   A· · · ·There was some confusion regarding my cell
12·   A· · · ·No.                                             12·   phone.· The day -- on the 30th when I was
13·   Q· · · ·Was it after others had left or how did that    13·   terminated, Melinda had taken my cell phone.· She
14·   play out?                                               14·   had -- she deactivated the number and then erased
15·   A· · · ·It -- the way the thing happened was that we    15·   everything in the -- in the phone.· She should not
16·   were in the conference room at fulfillment.· We had     16·   have done that, as I found out from corporate,
17·   that discussion.· I asked about the financial impact    17·   because I was asking if I could keep my phone number
18·   to me.· And initially, Melinda was the one answering    18·   because it was mine very early on.
19·   the question.· She thought that I would get a           19·   · · · · And actually, by the time we went through
20·   prorated bonus and that kind of thing if I resigned.    20·   the whole situation and I had conversations with
21·   And if I was terminated, I would get nothing.· So       21·   folks at our corporate office, the way it should
22·   I'm like -- at that point, I felt it was probably in    22·   have been handled was that my phone should have only
23·   my best interest if I was going to resign.              23·   had the password to the e-mail changed, because I
24·   · · · · Cleaned out my office there.· And my office     24·   owned the phone.· I had bought it myself.
25·   was simply a desk in the back.· But when we went        25·   · · · · So when I called Melinda to talk about that


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·1·   and to try to get my phone number reactivated, at       ·1·   BY MS. COLLINS:
·2·   that point I went back to the -- or I told her I        ·2·   Q· · · ·All right.· Have you seen this document
·3·   wanted to get my phone back and I told her what         ·3·   before?
·4·   corporate had said.· And when I told her that, she      ·4·   A· · · ·Excuse me.· I have.
·5·   asked Mr. Bell if I could -- well, I told her that      ·5·   Q· · · ·Was this the separation notice that
·6·   if she wanted to bring me the phone, you know, I'd      ·6·   Ms. McGraw gave you?
·7·   wait at the Verizon store for her to bring it.          ·7·   A· · · ·It is.
·8·   · · · · Now, Mr. Bell was there.· She asked Mr. Bell    ·8·   Q· · · ·And it looks like there's a mark-out
·9·   if I could come back and get the phone, and he          ·9·   section, where it was marked out under the explain
10·   approved it.· Or she said that he did.· I didn't        10·   the circumstances of this separation.
11·   talk to him directly.· So I went back to get the        11·   A· · · ·You're going to have to tell me where we
12·   phone, and when I went back and got my phone is when    12·   are.
13·   I completed the separation slip.                        13·   Q· · · ·In that box.· That box where there's also
14·   Q· · · ·Okay.· Who at corporate did you talk to?        14·   handwriting.
15·   A· · · ·I wish I could tell you her last name.· Her     15·   A· · · ·Oh, here (indicating)?
16·   first name was Joann.                                   16·   Q· · · ·Yes.
17·   Q· · · ·And that was someone in Atlanta or --           17·   A· · · ·Okay.
18·   A· · · ·Norcross.                                       18·   Q· · · ·Was this the -- that part that was marked
19·   Q· · · ·Norcross.· Did you see or talk to Jeb Bell      19·   out, did that initially say resignation?
20·   the next day, on the 31st, when you --                  20·   A· · · ·I don't know.
21·   A· · · ·No.                                             21·   Q· · · ·Okay.· Did she make any changes to this
22·   Q· · · ·Okay.· So when you got your phone back, had     22·   document in front of you?
23·   everything been wiped off of it?                        23·   A· · · ·I didn't see her make changes to it, but
24·   A· · · ·Oh, yeah.                                       24·   she -- we were positioned like here and there
25·   Q· · · ·Including text messages?                        25·   (indicating).· I don't know if she did or not.· She
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·1·   A· · · ·Text messages, the pictures from my             ·1·   did not that I saw.
·2·   granddaughter's graduations.· It was clean.· All        ·2·   Q· · · ·Okay.· And up at the top, for the reason for
·3·   my -- all the contact information, everything was       ·3·   separation, it has the box for discharge and quit
·4·   gone from it.                                           ·4·   marked, but then it has the box for discharged
·5·   Q· · · ·Did you use your cell phone to text with        ·5·   circled.· Do you know why that was?· Or was it for
·6·   employees of WestRock while you were there?             ·6·   the reasons that you just explained?
·7·   A· · · ·I was not big on texting, no.                   ·7·   A· · · ·I would have to tell you -- if I'm going to
·8·   Q· · · ·Prior to you being terminated, had you          ·8·   make an assumption, I'm assuming it's because she
·9·   engaged in any e-mail communication about the           ·9·   changed it after the reasons that I just talked
10·   investigation that led up to your termination or        10·   about.
11·   your termination?                                       11·   Q· · · ·Okay.· But to be clear, you did not receive
12·   A· · · ·No, not that I remember.                        12·   a copy of this document on the 30th?
13·   Q· · · ·Did you e-mail much?                            13·   A· · · ·No, I did not.· Matter of -- I'm going to go
14·   A· · · ·I used my phone for a lot of e-mails, yeah.     14·   a step farther.· It just made me think, because what
15·   Q· · · ·And that was -- but those e-mails were          15·   she had told me on the 31st was that she was going
16·   through a WestRock account, I assume?                   16·   to mail it to me, but that since I came back to get
17·   A· · · ·Yes.                                            17·   the phone, she'd go ahead and give it to me while I
18·   Q· · · ·Okay.· I'm going to show you an exhibit real    18·   was there.
19·   quick.· If you could turn to a document in there        19·   Q· · · ·And did you have any discussions with her
20·   that's been tabbed as Exhibit Number 24.                20·   about the inconsistencies in having discharged
21·   · · · · · · ·(Presented Exhibit No. 24.)                21·   marked and quit marked?
22·   · · · · · · ·MS. COLLINS:· I'm sorry, Doug, I didn't    22·   A· · · ·No.
23·   bring extra copies.                                     23·   Q· · · ·After the 31st, have you been back out to
24·   · · · · · · ·THE WITNESS:· Okay.                        24·   the plant?
25                                                            25·   A· · · ·I have not.


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·1·   Q· · · ·The Gallatin plants, they have both men and     ·1·   A· · · ·Right.
·2·   women working out there, correct?                       ·2·   Q· · · ·-- is what you're saying?
·3·   A· · · ·Yes.                                            ·3·   A· · · ·Exactly.
·4·   Q· · · ·Okay.· Are you familiar with Michael            ·4·   Q· · · ·And you're saying you didn't do that -- or
·5·   Kulakowski?                                             ·5·   you didn't make contact with Mike White in his groin
·6·   A· · · ·I am.                                           ·6·   area?
·7·   Q· · · ·And you worked with him?                        ·7·   A· · · ·No.
·8·   A· · · ·Yes.                                            ·8·   Q· · · ·What about Terry Stafford?
·9·   Q· · · ·At any point in time when you worked with       ·9·   A· · · ·No.
10·   him, did you backhand him in his groin area?            10·   Q· · · ·What about Donnie Taylor?
11·   A· · · ·No.                                             11·   A· · · ·No.
12·   Q· · · ·Did you hit him in his groin area in any        12·   Q· · · ·What about Jerry Harville?
13·   way?                                                    13·   A· · · ·I did with Jerry Harville one time
14·   A· · · ·You know, define groin area for me.· If         14·   accidentally.
15·   you're -- if you're asking me did I ever hit him in     15·   Q· · · ·Tell me about that.
16·   his private parts, the answer is no.                    16·   A· · · ·I was -- same type thing.· Jerry took a step
17·   Q· · · ·Well, if -- is there a different part of the    17·   forward just as I was doing it, and I accidently did
18·   groin area where you did hit him?                       18·   hit Jerry and I apologized for it.· I told him I
19·   A· · · ·No, I never hit him in the groin, no.           19·   didn't mean to -- you know, to hit him, and that it
20·   Q· · · ·Did you make any physical contact with          20·   happened just as he made a forward step.
21·   Michael Kulakowski anywhere in his groin area?          21·   Q· · · ·When was that?
22·   A· · · ·No.                                             22·   A· · · ·Oh, gosh.· That's been a long time ago.
23·   Q· · · ·His mid section?                                23·   Q· · · ·What about Mike Hall?· Did you do that to
24·   A· · · ·No.                                             24·   Mike Hall?
25·   Q· · · ·Did you ever knock -- slap his hat off his      25·   A· · · ·Who?
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·1·   head?                                                   ·1·   Q· · · ·Mike Hall.· Is that name correct?· Keith
·2·   A· · · ·No.                                             ·2·   Hall.· Sorry.
·3·   Q· · · ·Did you ever kick him in the workplace?         ·3·   A· · · ·No.
·4·   A· · · ·No.                                             ·4·   Q· · · ·What about Larry Eden?
·5·   Q· · · ·Did you ever hit him with a broom?              ·5·   A· · · ·No.· No.· I'm sorry.· I'm sorry, I have a
·6·   A· · · ·No.                                             ·6·   little hearing loss that's why I keep leaning over.
·7·   Q· · · ·Did you do that to any other employees,         ·7·   Q· · · ·No, you didn't do that to Larry Eden?
·8·   either -- did you ever hit any other employees in       ·8·   A· · · ·No.· As far as actually making contact, no.
·9·   the groin area?                                         ·9·   And that's what I think you were asking.
10·   A· · · ·No.· Well, what -- what we did -- and I'll      10·   Q· · · ·Do you recall an incident where you
11·   give you a bit of an explanation.· But if there         11·   backhanded Keith Hall in the groin and he got angry
12·   was -- we would make moves that solicited a response    12·   and pushed you into a copier?
13·   that was similar to goosing somebody in the ribs        13·   A· · · ·No, I don't.
14·   maybe.· But you never -- you never actually made        14·   Q· · · ·Do you recall him telling you to never do
15·   contact.                                                15·   that again?
16·   Q· · · ·What do you mean, that solicited -- you         16·   A· · · ·No, I do not.
17·   would make a move that solicited a response?            17·   Q· · · ·Now, if other employees say that they saw
18·   A· · · ·Oh, my goodness.· You know, maybe you'd         18·   you hit employees out at the Gallatin plants in the
19·   (indicating), you'd do that (indicating), like          19·   groin, do you have any basis to refute that?
20·   you're -- you know, like you're saying -- I don't       20·   · · · · · · ·MS. DOHNER SMITH:· Objection.
21·   know how to explain that.                               21·   · · · · · · ·THE WITNESS:· I did not hit these folks
22·   Q· · · ·So you would take your hand and act like you    22·   in the groin.
23·   were backhanding someone?                               23·   BY MS. COLLINS:
24·   A· · · ·Yes.                                            24·   Q· · · ·You didn't backhand them or flick your hand
25·   Q· · · ·But you wouldn't actually make contact --       25·   at them and hit them with your fingertips?


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·1·   A· · · ·At -- no.· At them, yes, like I described,      ·1·   A· · · ·No.
·2·   yes, we'd do that.· But no, I -- I did not hit them.    ·2·   Q· · · ·What about do that backhand, where you --
·3·   The incident that I told you about with Jerry           ·3·   A· · · ·Yes.
·4·   Harville was an accident that happened, as I said,      ·4·   Q· · · ·You would do that with Mike Eden as well?
·5·   as he stepped forward.· I don't remember ever making    ·5·   A· · · ·Would not hit him, no.
·6·   any contact with anybody else.                          ·6·   Q· · · ·You would not -- you maintain that you
·7·   Q· · · ·Did you ever knock Michael Kulakowski's hat     ·7·   didn't make contact when you did that?
·8·   off his head or slap his hat off his head?              ·8·   A· · · ·I didn't -- I did not make contact, no.
·9·   A· · · ·Nope, not that I remember, no.                  ·9·   Q· · · ·So that thing that you describe as a
10·   Q· · · ·Have you ever kneed Michael Kulakowski in       10·   backhanded motion where you did not make contact,
11·   the groin?                                              11·   you did that to Mike Eden, right?
12·   A· · · ·I have gone through the motion, just as with    12·   A· · · ·Yes.
13·   the backhand flick (indicating), gone through the       13·   Q· · · ·You did that to Michael Kulakowski?
14·   motions, but never hit him.                             14·   A· · · ·Yes.
15·   Q· · · ·You've gone through the motions of kneeing      15·   Q· · · ·You did that to Mike White?
16·   him in the groin?                                       16·   A· · · ·I don't remember ever -- Michael White. I
17·   A· · · ·Yes.                                            17·   don't remember ever doing it with Michael, no.
18·   Q· · · ·Why?                                            18·   Q· · · ·You did that to Jerry Harville?
19·   A· · · ·We were -- in the working environment that      19·   A· · · ·Yes.
20·   we had, a lot of us had worked together for a number    20·   Q· · · ·Did you do that to Keith Hall?
21·   of years, and we were friends.· And it was just a       21·   A· · · ·No.
22·   matter of simple camaraderie that we cut up with --     22·   Q· · · ·What about Larry Eden?
23·   you know, with each other within our group of           23·   A· · · ·Yes.
24·   friends.· Michael Kulakowski was a part of that         24·   Q· · · ·What about Donnie Taylor?
25·   group of friends.                                       25·   A· · · ·No, I don't remember ever doing it with
                                                    Page 31                                                       Page 33
·1·   Q· · · ·Do you remember Michael Kulakowski telling      ·1·   Donnie, no.
·2·   you to stop that?                                       ·2·   Q· · · ·What about Terry Stafford?
·3·   A· · · ·No.                                             ·3·   A· · · ·Yes.
·4·   Q· · · ·Would you consider that horseplay in the        ·4·   Q· · · ·What about J.R. Sanders?
·5·   workplace?                                              ·5·   A· · · ·Yes.
·6·   A· · · ·No.                                             ·6·   Q· · · ·Did you ever hit Donnie Taylor in the arm or
·7·   Q· · · ·What would you consider it?                     ·7·   leg?
·8·   A· · · ·My definition of horseplay is creating a        ·8·   A· · · ·Not that I recall.
·9·   situation or actions that cause somebody to be hurt     ·9·   Q· · · ·Do you recall Donnie Taylor hitting you back
10·   or the potential for an unsafe condition.               10·   when you hit him in the groin?
11·   Q· · · ·And you're saying you did not engage in that    11·   A· · · ·I never hit Donnie in the groin, and I don't
12·   in the workplace?                                       12·   recall Donnie ever hitting me.
13·   A· · · ·No, I did not.                                  13·   Q· · · ·Did you ever smack Michael Kulakowski in the
14·   Q· · · ·Did you do that with women that worked out      14·   back of his head?
15·   there, pretend like you were going to knee them or      15·   A· · · ·You'd have to define smack, I guess, for me.
16·   slap them in the groin?                                 16·   Q· · · ·Well, did you --
17·   A· · · ·Oh, no.· No.                                    17·   A· · · ·To me -- I'm sorry.
18·   Q· · · ·Would you say there's a culture of horseplay    18·   Q· · · ·Did you come into physical contact with the
19·   out at the Gallatin plants when you were general        19·   back of his head, either a smack, a hit, knocking
20·   manager?                                                20·   his hat off, anything like that?
21·   · · · · · · ·MS. DOHNER SMITH:· Objection.              21·   A· · · ·Never knocked his hat off, never hit him,
22·   · · · · · · ·THE WITNESS:· No.                          22·   what I call a hit.· Flick on the back of the cap,
23·   BY MS. COLLINS:                                         23·   yes.· And no, I don't recall ever knocking his cap
24·   Q· · · ·Did you ever kick Mike Eden in the              24·   off.
25·   workplace?                                              25·   Q· · · ·Do you recall ever hitting Michael


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·1·   Kulakowski so hard that he fell to the ground and       ·1·   job, tell him you were going to fire him?
·2·   couldn't breathe?                                       ·2·   A· · · ·No.
·3·   A· · · ·Oh, my goodness, no.                            ·3·   Q· · · ·Who gave Michael Kulakowski job evaluations?
·4·   Q· · · ·And Michael Kulakowski did not hit you back,    ·4·   A· · · ·That -- Larry Eden gave him his -- yeah, it
·5·   right?                                                  ·5·   was Larry's job to do the job reviews on an annual
·6·   A· · · ·Yes, he did.· This was -- what I'm              ·6·   basis for the hourly employees.
·7·   describing is what we did with each other.              ·7·   Q· · · ·Did you have to sign off on those?
·8·   Q· · · ·Okay.· Did he hit you back physically, make     ·8·   A· · · ·I did.
·9·   contact with you?· Michael Kulakowski, did he ever      ·9·   Q· · · ·Did you see Michael Kulakowski's
10·   hit you back, make physical contact with you?           10·   evaluations?
11·   A· · · ·Not in the groin area, if that's what you're    11·   A· · · ·I don't recall seeing it, but I'm pretty --
12·   asking.                                                 12·   I would assume it was in there.
13·   Q· · · ·Anywhere on your body?                          13·   Q· · · ·Did you sign off on those in addition to
14·   A· · · ·Oh, slap me on the shoulder or, you know,       14·   Mr. Eden?
15·   that type thing, yes.                                   15·   A· · · ·I did Larry's reviews, yes.
16·   Q· · · ·Did you write him up for that?                  16·   Q· · · ·But did you sign off on the other employees'
17·   A· · · ·No.                                             17·   evaluations?
18·   Q· · · ·Did you document it in any way?                 18·   A· · · ·You're talking about the hourly employees?
19·   A· · · ·No.                                             19·   Q· · · ·Yes.
20·   Q· · · ·Did you ever cuss out Michael Kulakowski in     20·   A· · · ·Yes.
21·   the workplace?                                          21·   Q· · · ·And those evaluations, were they maintained
22·   A· · · ·No.                                             22·   in their files?
23·   Q· · · ·Did you ever call him a stupid Polak?           23·   A· · · ·Yes.
24·   A· · · ·I don't remember ever calling him that, no.     24·   Q· · · ·Out at the --
25·   I remember him calling himself that, but I don't        25·   A· · · ·They were -- should be at the sheet plant.
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·1·   remember ever calling him that.                         ·1·   Q· · · ·Did Helen maintain those?
·2·   Q· · · ·What about a stupid motherfucker?               ·2·   A· · · ·She did.
·3·   A· · · ·Ooh.· I don't remember doing that, no.          ·3·   Q· · · ·Did Mr. Pedine do your evaluations?
·4·   Q· · · ·Is that a term that you use?                    ·4·   A· · · ·He did one.
·5·   A· · · ·Very selectively, and in -- only with close     ·5·   Q· · · ·Who did your evaluation in 2015?
·6·   friends.                                                ·6·   A· · · ·That would have been Pedine.
·7·   Q· · · ·Did you use it in the workplace?                ·7·   Q· · · ·Did you get one in 2016?
·8·   A· · · ·No, no.                                         ·8·   A· · · ·No.· I was -- I left before that.
·9·   Q· · · ·Did you ever call Michael Kulakowski a          ·9·   Q· · · ·Did you get a good evaluation in 2015?
10·   pussy?                                                  10·   A· · · ·I did.
11·   A· · · ·I do not remember ever doing that, no.          11·   Q· · · ·Have you ever hired employees out there with
12·   Q· · · ·Did you ever tell Michael Kulakowski that he    12·   a criminal record?
13·   could suck your dick?                                   13·   A· · · ·Yes.
14·   A· · · ·Oh, Lord, no.                                   14·   Q· · · ·When employees are hired out at WestRock,
15·   Q· · · ·Did you ever shake your groin area or your      15·   would the company typically conduct background
16·   zipper at him and tell him he could suck your dick      16·   checks on them?
17·   or anything like that?                                  17·   A· · · ·Yes.
18·   A· · · ·No.                                             18·   Q· · · ·Did you Michael -- know Michael Kulakowski
19·   Q· · · ·Do you recall ever doing that physical          19·   had a criminal record?
20·   motion towards any employee at WestRock?                20·   A· · · ·I did.
21·   A· · · ·No.                                             21·   Q· · · ·And that wasn't a problem with his
22·   Q· · · ·And you never -- did you ever kick Michael      22·   employment, correct?
23·   Kulakowski in his nuts or his balls?                    23·   A· · · ·No.
24·   A· · · ·No.                                             24·   Q· · · ·And he wasn't the only one that worked out
25·   Q· · · ·Did you ever threaten Michael Kulakowski's      25·   there that had a criminal record, correct?


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·1·   A· · · ·He's the only one that comes to mind. I         ·1·   A· · · ·I am.
·2·   can't tell you for sure.· I don't know.                 ·2·   Q· · · ·What?
·3·   Q· · · ·Okay.· You don't have a criminal record, do     ·3·   A· · · ·One example that comes to mind that I would
·4·   you?                                                    ·4·   give you would be the -- we had a situation -- and I
·5·   A· · · ·No.                                             ·5·   think you -- we touched on it a little earlier with
·6·   Q· · · ·Ever been arrested?                             ·6·   Terri Henley, where there's some question about a
·7·   A· · · ·No.                                             ·7·   complaint.
·8·   Q· · · ·Do you find -- you worked with Keith Hall,      ·8·   · · · · Actually, where we got to with that was that
·9·   right?                                                  ·9·   Jerry had -- the complaint was from a forklift
10·   A· · · ·Yes.                                            10·   driver.· The forklift driver was being told to do
11·   Q· · · ·Do you find him to be a credible person?        11·   something that was -- he was not supposed to do,
12·   A· · · ·No.                                             12·   which was to load a damaged trailer, and the damage
13·   Q· · · ·Why not?                                        13·   was identified during the trailer inspection.· He
14·   A· · · ·Keith -- Keith has a habit of unfortunately     14·   brought it to Jerry's attention.· Jerry had him go
15·   kind of putting himself first.                          15·   ahead and load that trailer and told him to load
16·   Q· · · ·So you think that makes him untruthful at       16·   around the hole and ship it.
17·   times?                                                  17·   · · · · When they did that, the -- actually, the
18·   A· · · ·Well, taking credit, yeah, for things that      18·   forklift driver spoke with me about it.· And when he
19·   he was not a part of, yeah.                             19·   told me what had happened, the truck was already
20·   Q· · · ·What about Larry Eden?· Did you find him to     20·   gone.· Went to the customer.· It ended up being
21·   be a credible person?                                   21·   returned and credits being issued.
22·   A· · · ·I found Larry to be, yes.                       22·   · · · · And that was enough that I told Larry Eden,
23·   Q· · · ·What about Tracy Duncan?· Do you find her to    23·   who was Jerry's supervisor, that we couldn't have
24·   be a credible person?                                   24·   that kind of thing going on out of Jerry, and that
25·   A· · · ·I've never had a reason to think that she's     25·   we were going to have to pull Jerry out of his role
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·1·   not.                                                    ·1·   as shipping manager for the sheet plant and find
·2·   Q· · · ·What about Mike White, or Michael White?        ·2·   something else to do with him, which we did. I
·3·   Did you find him to be credible?                        ·3·   think Larry put him -- I think Larry put him back on
·4·   A· · · ·You know, I can't answer that about Michael.    ·4·   the die cutter, but you'd have to verify that with
·5·   I just -- I don't know that I've ever known him to      ·5·   Larry.· But I think that's what he did with him.
·6·   be in a situation to try to determine one way or the    ·6·   Q· · · ·Who was the forklift driver again?
·7·   other.                                                  ·7·   A· · · ·That was Tommy Davis.
·8·   Q· · · ·Okay.· But you haven't caught him telling       ·8·   Q· · · ·What about Donnie Taylor?· Do you find him
·9·   you an untruth that you -- or telling you something     ·9·   to be credible?
10·   that you later found out to be untrue, did you?         10·   A· · · ·I've never caught Donnie telling me a
11·   A· · · ·No.· No, not in Michael's case, no.             11·   falsehood that I know of.· No, I can't think --
12·   Q· · · ·What about Jerry Harville?· Do you find him     12·   Donnie tends to -- Donnie finds a lot to talk about,
13·   to be a credible person?                                13·   but I've never known him to just fib to me.
14·   A· · · ·No.                                             14·   Q· · · ·What do you recall about the investigation
15·   Q· · · ·Why not?                                        15·   that led to your termination?
16·   A· · · ·Jerry is -- you know, even though I like        16·   A· · · ·I'm not sure what you're asking me.
17·   Jerry, he tends to not tell things truthfully.· He's    17·   Q· · · ·Well, what do you know about anything that
18·   inaccurate with -- knowingly inaccurate with some of    18·   led up to your termination?
19·   the things he's done and said.                          19·   A· · · ·The only thing that really I know about it
20·   Q· · · ·Did you ever write him up for anything like     20·   was just the questions that I was asked on the 20 --
21·   that?                                                   21·   I believe it was the 26th of August.
22·   A· · · ·The -- I -- I talked with Larry Eden about      22·   Q· · · ·And who asked you those questions?
23·   it.· I didn't do a write-up on him myself, no.          23·   A· · · ·This was in that -- with Melinda McGraw.
24·   Q· · · ·Specifically, what are you -- are you           24·   Melinda was the one that basically headed up the
25·   referring to a specific situation?                      25·   question and answer session.


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·1·   Q· · · ·Was Terri Henley there?                         ·1·   notified me that they wanted to get together, but I
·2·   A· · · ·She was.                                        ·2·   don't remember the exact time frame.
·3·   Q· · · ·Was either -- were either of them taking        ·3·   Q· · · ·How were you notified?
·4·   notes?                                                  ·4·   A· · · ·I think it may have been an e-mail from
·5·   A· · · ·I know Melinda was.· I can't tell you about     ·5·   Melinda.· And I hate to say I think, but that's kind
·6·   Terri.                                                  ·6·   of -- that's what I remember.· That's the way -- and
·7·   Q· · · ·Was Melinda typing notes or handwriting         ·7·   it wasn't -- gosh, I just don't remember those
·8·   notes?                                                  ·8·   details.· I'm sorry.
·9·   A· · · ·I just don't -- I don't remember.               ·9·   Q· · · ·Okay.· Prior to receiving an e-mail from
10·   Q· · · ·Where was the interview?                        10·   Melinda, did you know that she and Terry had been
11·   A· · · ·It was at the fulfillment center conference     11·   coming out and meeting with employees?
12·   room.                                                   12·   A· · · ·No.
13·   Q· · · ·What about Tom Pedine?· Was --                  13·   Q· · · ·Do you recall having a phone conversation
14·   A· · · ·Tom was there, yes.                             14·   with Keith Hall about the investigation?
15·   Q· · · ·Anyone else besides Melinda, Terri, and Tom?    15·   A· · · ·No.
16·   A· · · ·No.                                             16·   Q· · · ·Do you recall calling Keith Hall and telling
17·   Q· · · ·How long did the meeting last?                  17·   him that you had a list of who all had talked with
18·   A· · · ·Hour and a half.· I really don't remember       18·   management or HR?
19·   just how long it was.· I wasn't paying -- I know        19·   A· · · ·No.
20·   that we had a conference call that was with GE at       20·   Q· · · ·Do you recall calling Keith Hall and asking
21·   3:00, Tom and I did.· So it was over well before        21·   him what was going on?
22·   that.· Probably in the 2:30 neighborhood it was         22·   A· · · ·No.
23·   over, and they got there may be a little bit before     23·   Q· · · ·Or how long HR had been coming out to the
24·   lunch.                                                  24·   plant?
25·   Q· · · ·Did y'all --                                    25·   A· · · ·No.
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·1·   A· · · ·But I'm just going on memory.· Don't            ·1·   Q· · · ·Do you recall if you had ever told employees
·2·   document those times.                                   ·2·   that hotline complaints come to you?
·3·   Q· · · ·Did the interview last through lunch or did     ·3·   A· · · ·No.
·4·   y'all start the interview after lunch?                  ·4·   Q· · · ·Do you know who mailed the initial complaint
·5·   A· · · ·You know, it seems to me that -- and here       ·5·   against you in August of 2016?
·6·   I'm trying to rely on my memory, but it seems to me     ·6·   A· · · ·No.
·7·   that we sent out for sandwiches.· I think we started    ·7·   Q· · · ·And you were never made aware of a complaint
·8·   right at lunchtime and sent for sandwiches, and we      ·8·   against you in 2013?
·9·   got started.                                            ·9·   A· · · ·No.
10·   Q· · · ·Did you take any notes during the meeting?      10·   Q· · · ·And I understand you have a car lot, or
11·   A· · · ·No.                                             11·   you're part owner in a car lot, or you were?
12·   Q· · · ·Did you fill out any documents?                 12·   A· · · ·Used to have one, yeah.
13·   A· · · ·No.                                             13·   Q· · · ·Okay.· When did you get rid of that?
14·   Q· · · ·Was the meeting recorded?                       14·   A· · · ·My -- my partner and I separated -- it was
15·   A· · · ·No.· Well, let me say, as far as I know it      15·   gone -- it's been over a year.· No, it's been
16·   wasn't recorded, unless somebody had a device on        16·   two years now, I guess.
17·   that I wasn't aware of.                                 17·   Q· · · ·I understand you sold a car to Terry
18·   Q· · · ·Okay.· At the time that you met with Melinda    18·   Stafford.
19·   McGraw, Terri Henley, and Tom Pedine, did you know      19·   A· · · ·I did.
20·   that you were under investigation?                      20·   Q· · · ·And he's still making payments on that?
21·   A· · · ·I did not know it when the meeting was          21·   A· · · ·He is.
22·   arranged.                                               22·   Q· · · ·Had you sold any cars to any other WestRock
23·   Q· · · ·When was the meeting arranged?                  23·   employees?
24·   A· · · ·I really don't remember when that was.· It      24·   A· · · ·No.
25·   was within a couple of days, I think, that they         25·   Q· · · ·Have you seen Michael Kulakowski since your


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·1·   termination?                                            ·1·   talk with him about?
·2·   A· · · ·I did see him -- I was pulling into a gas       ·2·   A· · · ·Pretty much same type stuff.· You know,
·3·   station, and I saw him there.                           ·3·   these folks -- I had an open door policy when I was
·4·   Q· · · ·Did you talk with him?                          ·4·   at the plant.· These folks come talk to me about
·5·   A· · · ·No.· It was across the parking lot.             ·5·   personal issues, about work issues.· You know, it's
·6·   Q· · · ·How big was the parking lot?                    ·6·   just not -- nothing out of the ordinary.
·7·   A· · · ·I think that -- I think there are about six     ·7·   Q· · · ·Susan Hart, what did you talk with her
·8·   sets of gas pumps across the -- strung out across       ·8·   about?
·9·   the parking lot.· He was on the far side, and I         ·9·   A· · · ·Same type stuff.
10·   pulled in the lower side.· As far as I know, he         10·   Q· · · ·How many times have you talked with her
11·   never even saw me.                                      11·   since you left?
12·   Q· · · ·Do you carry a handgun?                         12·   A· · · ·Oh, I've talked to Susan a number of times.
13·   A· · · ·I do not.                                       13·   Q· · · ·What about Terry?· A number of --
14·   Q· · · ·What about a shotgun or a rifle?                14·   · · · · · · ·(Overlapping speech.)
15·   A· · · ·I do not.                                       15·   A· · · ·A number of times.
16·   Q· · · ·Do you own any firearms, handgun, shotgun?      16·   Q· · · ·Would you say it's on a regular basis?
17·   A· · · ·I own firearms, yes, but they're locked in a    17·   A· · · ·It's sporadic.· I might talk to him two or
18·   cabinet at home.                                        18·   three times in one week, may not talk to him again
19·   Q· · · ·You don't keep them with you in the car?        19·   for two or three weeks.
20·   A· · · ·No.                                             20·   Q· · · ·Did he tell you he was being deposed in this
21·   Q· · · ·Since your termination, have you talked with    21·   case?
22·   any WestRock employees?                                 22·   A· · · ·I knew that he was being deposed.· I don't
23·   A· · · ·Oh, yes.                                        23·   know that he was the one that told me.
24·   Q· · · ·Who?                                            24·   Q· · · ·Did y'all talk about his deposition?
25·   A· · · ·Ooh, that's going to be a string of folks.      25·   A· · · ·No.
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·1·   I've had folks call me from other plants.· Let's        ·1·   Q· · · ·Have you talked about his deposition at any
·2·   see.· Jim Hull, Deanie Brantley.· I talked with         ·2·   point in time?
·3·   Roger Smith, Ed Ammaday.· I'll forget some before       ·3·   A· · · ·About con -- no.· I haven't talked to
·4·   I'm done with this.· Terry Stafford, Jason Brazzell,    ·4·   anybody about the contents of their depositions.
·5·   Austin Matthews, Susan Hart, Georgie Anthony.           ·5·   Q· · · ·What about Jason?· Is he -- was he at the
·6·   That's nowhere near everybody.· Eric Sullivan, Terry    ·6·   Gallatin plant?
·7·   Taylor, Jeff Scruggs.· And I know that's not            ·7·   A· · · ·Yes.
·8·   everybody, but that's a sampling.                       ·8·   Q· · · ·What was his job?
·9·   Q· · · ·Which of those people besides Terry Stafford    ·9·   A· · · ·Jason worked on a machine in the plant.
10·   were at the Gallatin facility?                          10·   Q· · · ·How many times have you talked with Jason?
11·   A· · · ·Let's see.· Jim Hull was not.· I think the      11·   A· · · ·Not many.· Two or three times.
12·   first three that I gave you, Jim, Deanie, and Roger     12·   Q· · · ·What about Austin?
13·   Smith are not.                                          13·   A· · · ·Austin actually married my granddaughter a
14·   Q· · · ·Okay.· What about Ed?                           14·   few weeks ago.
15·   A· · · ·Ed works out of the Gallatin facility.          15·   Q· · · ·Is he at the Gallatin plant?
16·   Q· · · ·What's his job?                                 16·   A· · · ·He is.
17·   A· · · ·Ed is -- I'm not sure what he is now.· He       17·   Q· · · ·What about Georgie?
18·   was the business unit GM.· He was based in              18·   A· · · ·She's at the Gallatin plant.· I talked to
19·   Murfreesboro.· They moved him to Gallatin.· Tom did,    19·   Georgie only a couple of times.
20·   Pedine.                                                 20·   Q· · · ·What did y'all talk about?
21·   Q· · · ·What did you talk with Ed about?                21·   A· · · ·Kids, you know, her youngest one deer
22·   A· · · ·Nothing in particular, just, you know, kids,    22·   hunting.· Just personal friendship type stuff.
23·   how you doing, how you getting along, those types       23·   Q· · · ·Were most of these conversations on the
24·   things.                                                 24·   phone or were they in person?
25·   Q· · · ·What about Terry Stafford?· What did you        25·   A· · · ·Been some of both.· Some of these folks come


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·1·   to my house to visit and we talk in person,             ·1·   A· · · ·They did.
·2·   sometimes they call.                                    ·2·   Q· · · ·-- to work out there?
·3·   Q· · · ·What about Eric?· Is he from the Gallatin       ·3·   A· · · ·They did.
·4·   plant?                                                  ·4·   Q· · · ·Which temp agency?
·5·   A· · · ·He is.                                          ·5·   A· · · ·White Staffing.
·6·   Q· · · ·How many times have you talked with him         ·6·   Q· · · ·Did you have a -- out at the Gallatin
·7·   since you left?                                         ·7·   plants, was there a White Staffing person that
·8·   A· · · ·Several.                                        ·8·   worked there on a regular basis?
·9·   Q· · · ·Same sort of stuff, just personal?              ·9·   A· · · ·On-site supervisor, yes.
10·   A· · · ·Yeah.                                           10·   Q· · · ·Who was that?
11·   Q· · · ·What about Terry Taylor?                        11·   A· · · ·Heather -- I'm sorry.· I don't recall
12·   A· · · ·I talked to a couple of times.                  12·   Heather's last name off the top of my head.
13·   Q· · · ·Is he at the Gallatin plant?                    13·   Q· · · ·Was she still there when you --
14·   A· · · ·He is.                                          14·   A· · · ·When I left, yes.· I know they changed that
15·   Q· · · ·What about Jeff?                                15·   person a couple of times, but as far as I know
16·   A· · · ·Jeff Scruggs?                                   16·   Heather -- well, Heather was still there when I
17·   Q· · · ·Uh-huh.                                         17·   left, yes.
18·   A· · · ·Only talked to Jeff a couple of times.          18·   Q· · · ·Were you aware of employees working off the
19·   Q· · · ·And he was at the Gallatin plant?               19·   clock?
20·   A· · · ·Yes.                                            20·   A· · · ·I'm sorry?· Say it again.
21·   Q· · · ·Same sort of stuff, just personal?              21·   Q· · · ·Were you aware of employees working off the
22·   A· · · ·Jeff had actually had a car wreck.              22·   clock?
23·   Q· · · ·Okay.                                           23·   A· · · ·At the plant?
24·   A· · · ·And yeah, I went to see how he was.             24·   Q· · · ·Yes.
25·   Q· · · ·All right.· Anyone else you can think of?       25·   A· · · ·No.
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·1·   A· · · ·Not that -- not off the top of my head, no.     ·1·   Q· · · ·Did you ever ask employees to come in and
·2·   But I would tell you that I would not say that          ·2·   get some work done off the clock?
·3·   that's everybody.                                       ·3·   A· · · ·Did I ask them what?
·4·   Q· · · ·Okay.· Did you have any relatives that          ·4·   Q· · · ·Ask them to come in and get work done off
·5·   worked out at the plant other than your -- I guess      ·5·   the clock?
·6·   your granddaughter's fiancé?                            ·6·   A· · · ·No.
·7·   A· · · ·Well, he wasn't a relative when he started.     ·7·   Q· · · ·Did you discourage employees from taking
·8·   Q· · · ·Okay.                                           ·8·   vacation days?
·9·   A· · · ·My -- I had a nephew years ago.· When my son    ·9·   A· · · ·I'm sorry.· I'm --
10·   was in high school, he worked one summer when he was    10·   Q· · · ·Yeah.· Did you discourage employees from
11·   out of school.· That's really all I remember.           11·   taking vacation days?
12·   Q· · · ·Did you have a personal relationship with       12·   A· · · ·No.· Absolutely not.
13·   Susan Hart when you were general manager at             13·   Q· · · ·Do you recall telling any employee out there
14·   WestRock?                                               14·   that you could leave now if you don't like how I run
15·   A· · · ·What do you mean?                               15·   things, you have to do things my way?
16·   Q· · · ·An intimate relationship.                       16·   A· · · ·No, I've never told anybody that.
17·   A· · · ·No.                                             17·   Q· · · ·Did you ever call Michael Kulakowski a
18·   Q· · · ·Did you ever kiss her out at the plant?         18·   stupid son of a bitch?
19·   A· · · ·No.                                             19·   A· · · ·No.
20·   Q· · · ·Did you ever hire workers from your son's       20·   Q· · · ·If multiple employees stated that you
21·   construction company to perform work out at the         21·   physically slapped them in the groin area, do you
22·   plant?                                                  22·   have a basis to dispute that?
23·   A· · · ·I hired some guys that worked for my son,       23·   · · · · · · ·MS. DOHNER SMITH:· Objection.
24·   yes.                                                    24·   · · · · · · ·THE WITNESS:· Yeah.· It's like I said
25·   Q· · · ·Did they go through the temp agency --          25·   earlier, there were a group of us who had worked


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·1·   together for years, and we were -- we were all          ·1·   or not.· Those are the ones that I remember.
·2·   friends.· We had -- in the course of our working        ·2·   Q· · · ·What about Donnie Taylor?· Was he in your
·3·   relationship, we made gestures toward each other        ·3·   group?
·4·   like we were going to hit each other.                   ·4·   A· · · ·I don't remember talking to -- directly to
·5·   · · · · · · ·It was -- this was just our -- I don't     ·5·   Donnie about it.
·6·   know what you call it.· It was just our camaraderie.    ·6·   Q· · · ·Was there anyone else in your group other
·7·   There was -- I don't know what to tell you other        ·7·   than those people that you just named?
·8·   than there was -- if anybody hit anybody, it would      ·8·   A· · · ·I don't think so.
·9·   have been totally by accident, because I don't          ·9·   Q· · · ·When you talk about --
10·   believe there was any intentional harm meant toward     10·   A· · · ·Well, I say I don't think so.· Let me --
11·   anybody.                                                11·   there were -- you know, I'd have to sit here and
12·   BY MS. COLLINS:                                         12·   research this thing.· Mikey Eden was -- you know,
13·   Q· · · ·Do you think that behavior was in               13·   Mikey wasn't adverse to coming up and slapping me on
14·   conformance with WestRock's policies?                   14·   the shoulder, you know.· J.H. Herndon, and I didn't
15·   A· · · ·I think it was.                                 15·   think about Jay, because Jay had retired.· I'm sure
16·   Q· · · ·Do you recall ever telling an employee that     16·   there are others.
17·   the horseplay stops now because another employee was    17·   Q· · · ·Okay.· And when you talk about folks in your
18·   terminated for horseplay at another plant?              18·   group, those are people that y'all would engage in
19·   A· · · ·I do, uh-huh.                                   19·   that sort of --
20·   Q· · · ·Tell me about that.                             20·   A· · · ·Camaraderie, yes.
21·   A· · · ·I know there was a -- I read about a            21·   Q· · · ·Well, what you called camaraderie was --
22·   situation with our Murfreesboro facility where an       22·   where you talked had about earlier, where you said
23·   employee was terminated after -- well, I shouldn't      23·   that you pretended to slap someone in their groin.
24·   say after.· But he was terminated, and I think there    24·   A· · · ·Uh-huh.
25·   was a law -- well, I know there was a lawsuit that      25·   Q· · · ·But you could only remember actually making
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·1·   was connected to it in some way.· And it had to do      ·1·   physical contact with one person on one occasion; is
·2·   with some kind of physical harassment of some --        ·2·   that correct?
·3·   some sort.                                              ·3·   A· · · ·That's the only one I remember.
·4·   · · · · And the -- in telling the folks at the          ·4·   Q· · · ·And you don't recall any employee ever
·5·   plant -- both plants, actually, that we had to stop     ·5·   telling you to stop doing that?
·6·   our -- the things that we've been talking about         ·6·   A· · · ·No, no.
·7·   here, because somebody that didn't know our group       ·7·   Q· · · ·Do you think allowing horseplay like that in
·8·   might misinterpret what was going on, and that we       ·8·   the work environment is consistent with WestRock's
·9·   didn't want anybody to think there was anything that    ·9·   policies?
10·   was improper going on.                                  10·   A· · · ·I still don't consider what we were doing to
11·   Q· · · ·When was that?                                  11·   be horseplay, as I understand horseplay.
12·   A· · · ·Gosh, that was sometime before the              12·   Q· · · ·Were you aware that WestRock had a policy
13·   termination.                                            13·   prohibiting assault in the workplace?
14·   Q· · · ·Was it --                                       14·   A· · · ·Yes.
15·   A· · · ·And when I say sometime, I mean, months         15·   Q· · · ·And you didn't consider that behavior
16·   before.· I don't know how many months, but it wasn't    16·   assault?
17·   like, you know, the week before or anything like        17·   A· · · ·No.
18·   that.                                                   18·   Q· · · ·Do you recall an incident in the shipping
19·   Q· · · ·Okay.· Who were you talking to about that?      19·   office where Michael Kulakowski was bent over
20·   A· · · ·I talked to pretty much all of my managers,     20·   looking at the computer and you came in and reached
21·   and all the folks that were in our group that I was     21·   your hand between his legs and grabbed his balls?
22·   talking about, like Jerry Harville, Kulakowski,         22·   A· · · ·I do not, no.
23·   Larry Eden, Terry Stafford, J.R., Michael White.        23·   Q· · · ·Is it that you just don't remember it or it
24·   Q· · · ·Anyone else?                                    24·   did not happen?
25·   A· · · ·I can't tell you if there was anybody else      25·   A· · · ·It didn't happen.


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·1·   Q· · · ·Did you ever act like you were going to run     ·1·   Q· · · ·And you didn't document anywhere that you
·2·   down Michael Kulakowski in your truck or hit him in     ·2·   had that discussion?
·3·   your truck?                                             ·3·   A· · · ·No.
·4·   A· · · ·No.                                             ·4·   Q· · · ·And by regular -- you said that was a
·5·   Q· · · ·Do you recall an incident outside of the        ·5·   regular sort of thing.· Would that be like weekly or
·6·   shipping office at the picnic table where you came      ·6·   daily?
·7·   up and hit Michael Kulakowski in his groin area?        ·7·   A· · · ·That's really hard for me to say.· It was
·8·   A· · · ·I don't, no.                                    ·8·   just not uncommon.· And folks just didn't think a
·9·   Q· · · ·You don't recall it or it did not happen?       ·9·   whole lot about it.
10·   A· · · ·It did not happen.                              10·   · · · · · · ·MS. COLLINS:· Okay.· That's all I have.
11·   Q· · · ·Do you recall an incident in the shipping       11·   · · · · · · · · E X A M I N A T I O N
12·   office where you grabbed Michael Kulakowski and         12·   BY MS. DOHNER SMITH:
13·   threw him across the office desk?                       13·   Q· · · ·Mr. Whited, Helen Kendall's actual job title
14·   A· · · ·No.                                             14·   was administrative assistant, correct?
15·   Q· · · ·Did you ever show your genitals or your         15·   A· · · ·Correct.
16·   penis to any employees at WestRock?                     16·   Q· · · ·And she didn't have any reporting structure
17·   A· · · ·No.                                             17·   up through the HR group, she only reported to
18·   · · · · · · ·MS. COLLINS:· Okay.· If I could just       18·   management at the Gallatin facility, correct?
19·   have a break to review my notes.                        19·   · · · · · · ·MS. COLLINS:· Objection to form.
20·   · · · · · · ·MR. JOHNSTON:· Sure.                       20·   · · · · · · ·THE WITNESS:· No.
21·   · · · · · · ·VIDEOGRAPHER:· We are going off the        21·   BY MS. DOHNER SMITH:
22·   record.· The time on the monitor is 10:36 a.m.          22·   Q· · · ·She didn't have any reporting structure with
23·   · · · · · · ·(Recess observed.)                         23·   respect to Joy Jones, did she?
24·   · · · · · · ·VIDEOGRAPHER:· We are back on the          24·   A· · · ·Not directly to Joy, no.
25·   record.· The time on the monitor is 10:44 a.m.          25·   Q· · · ·Well, Terri Henley wasn't in any way her
                                                    Page 59                                                       Page 61
·1·   BY MS. COLLINS:                                         ·1·   boss, correct?
·2·   Q· · · ·Mr. Whited, earlier you described what you      ·2·   · · · · · · ·MS. COLLINS:· Objection to form.
·3·   called camaraderie between you and several other        ·3·   · · · · · · ·THE WITNESS:· Really didn't have her as
·4·   male employees.· How often would y'all engage in        ·4·   a boss, I don't think.· She worked directly with
·5·   that sort of behavior, where you pretended to hit       ·5·   Terri.
·6·   someone in the groin area, or what you said --          ·6·   BY MS. DOHNER SMITH:
·7·   characterized as pretending to hit someone, how         ·7·   Q· · · ·She would pass information on to Terri?
·8·   often would y'all do that?· Was that a regular --       ·8·   A· · · ·Okay.
·9·   A· · · ·That was regular, yeah.                         ·9·   Q· · · ·Correct?
10·   Q· · · ·And that was a regular sort of thing up         10·   A· · · ·Yes, that's true.
11·   until your termination?                                 11·   Q· · · ·Okay.· There wasn't actually a local HR
12·   A· · · ·Up until we had the discussions that I've --    12·   representative, and so Helen was the one who would
13·   I mentioned earlier that -- for fear that somebody      13·   pass questions on, pass information on, get forms
14·   might misinterpret because of that incident out of      14·   from HR to give to employees, correct?
15·   Murfreesboro.                                           15·   A· · · ·Right.
16·   Q· · · ·And you don't remember when that discussion     16·   · · · · · · ·MS. COLLINS:· Objection to form.
17·   was?                                                    17·   BY MS. DOHNER SMITH:
18·   A· · · ·I'm sorry, I don't.                             18·   Q· · · ·So she wasn't really technically an HR
19·   Q· · · ·Okay.· Was it in 2016?                          19·   person, she was the person there kind of being the
20·   A· · · ·Yes.                                            20·   go-between, between the plant and HR?
21·   Q· · · ·Sometime?                                       21·   A· · · ·Yes.· Helen had a number of
22·   A· · · ·It was, it was.                                 22·   responsibilities.· That was -- that communication
23·   Q· · · ·You don't remember what time of year in         23·   piece was part of it.
24·   2016?                                                   24·   Q· · · ·Okay.· Now, the surveys that took place at
25·   A· · · ·No, I'm sorry, I don't.                         25·   the Gallatin facility, those were actually biannual,


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·1·   correct?· They weren't every year?                      ·1·   worked together for a number of years, and that's --
·2·   A· · · ·Employee surveys?                               ·2·   it was -- well, that's all it was, camaraderie in a
·3·   Q· · · ·Uh-huh.                                         ·3·   group of friends.
·4·   A· · · ·I think they missed the prior year. I           ·4·   Q· · · ·So you didn't mean it to be harmful in any
·5·   really can't recall.                                    ·5·   way?
·6·   Q· · · ·Okay.· So if other people in the corporate      ·6·   A· · · ·Oh, absolutely not.
·7·   structure testified that they're done biannually,       ·7·   Q· · · ·And you didn't mean to hurt anybody
·8·   you would have no reason to --                          ·8·   physically --
·9·   · · · · · · ·(Overlapping speech.)                      ·9·   A· · · ·No.
10·   A· · · ·I have no reason to say that's wrong.           10·   Q· · · ·-- in any way?
11·   · · · · · · ·MS. COLLINS:· Objection to form.           11·   · · · · · · ·MS. COLLINS:· Objection to form.
12·   BY MS. DOHNER SMITH:                                    12·   BY MS. DOHNER SMITH:
13·   Q· · · ·In 2015, the company changed from RockTenn      13·   Q· · · ·Was that meant to be sexual in nature at
14·   to WestRock, correct?                                   14·   all?
15·   A· · · ·True.                                           15·   A· · · ·No.
16·   Q· · · ·And when that took place, corporate sent out    16·   · · · · · · ·MS. COLLINS:· Objection to form.
17·   HR to do code of conduct training at the facility,      17·   BY MS. DOHNER SMITH:
18·   correct?                                                18·   Q· · · ·As of August 30th, 2016, you didn't have
19·   A· · · ·For --                                          19·   any intent to resign at that time, did you, as of --
20·   Q· · · ·For employees.                                  20·   A· · · ·No.
21·   A· · · ·You know, I don't remember that.                21·   Q· · · ·-- August 30th?
22·   Q· · · ·Okay.· Could have happened, you just don't      22·   · · · · The only reason you would have considered a
23·   remember it?                                            23·   voluntary resignation is because you were told you
24·   A· · · ·Could be, could be.                             24·   were being terminated?
25·   Q· · · ·All right.· Earlier you were talking about      25·   A· · · ·Yes.
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·1·   this group, I think you called it, a group of           ·1·   Q· · · ·Are you at all related to Helen Kendall in
·2·   friends.                                                ·2·   any way?
·3·   A· · · ·Uh-huh.                                         ·3·   A· · · ·I'm sorry?
·4·   Q· · · ·Was Mr. Kulakowski your friend?                 ·4·   Q· · · ·I'm sorry.· Are you at all related to Helen
·5·   A· · · ·Oh, yes.                                        ·5·   Kendall in any way?
·6·   Q· · · ·Okay.· And you talked about the conduct you     ·6·   A· · · ·No.
·7·   said was camaraderie, where you would pretend or        ·7·   Q· · · ·By marriage or anything like that?
·8·   make a movement like you were going to hit somebody     ·8·   A· · · ·My first wife's sister was married to
·9·   but not actually make contact?                          ·9·   Helen's brother.
10·   A· · · ·Right.                                          10·   Q· · · ·Okay.· But you're not related in any --
11·   Q· · · ·Would Mr. Kulakowski engage in that as well?    11·   A· · · ·No.
12·   A· · · ·Yes.                                            12·   Q· · · ·-- way?
13·   Q· · · ·Would he -- who would he engage in that type    13·   A· · · ·No.
14·   of behavior with?                                       14·   Q· · · ·Okay.
15·   A· · · ·Oh, shucks.· Pretty much anybody in the         15·   A· · · ·That was the closest I got to a
16·   group.· Terry Stafford, J.R., myself, Donnie Taylor.    16·   relationship.
17·   And I'm sorry, I just can't remember all of them off    17·   Q· · · ·I think earlier you were asked if you recall
18·   the top of my head, but it was -- it was a number of    18·   calling Mr. Kulakowski a stupid son of a bitch, and
19·   folks, yeah.                                            19·   you said no.· Do you just not recall that or did
20·   Q· · · ·And was that something that was contained       20·   that not happen?
21·   just within your group of friends?                      21·   A· · · ·That didn't happen.
22·   A· · · ·It was -- we didn't -- you didn't do that       22·   Q· · · ·Did Mr. Kulakowski use curse words in the
23·   kind of thing with a newcomer.· You know, that --       23·   workforce?
24·   that could -- maybe they would not understand what      24·   A· · · ·Oh, yeah.· Yes.
25·   was going on.· But there were some of us who had        25·   Q· · · ·What type of curse words would he use in the


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·1·   workforce?                                              ·1·   anybody to slap Mr. Kulakowski in the groin,
·2·   A· · · ·You know, he would -- Mr. Kulakowski would      ·2·   correct?
·3·   use -- you know, he'd drop the F word, you know. I      ·3·   A· · · ·Correct.
·4·   really can't pin them down.· I just -- the same type    ·4·   Q· · · ·Got to run through these with each of these.
·5·   of thing a bunch of redneck guys do.                    ·5·   I'm sorry; just bear with me.
·6·   Q· · · ·Okay.· You were asked some questions about      ·6·   · · · · Same thing with kicking Mr. Kulakowski in
·7·   whether you would pretend like you were going to hit    ·7·   the groin.· That's not something that was part of
·8·   Mr. Kulakowski with your truck or if you actually       ·8·   your job duties, correct?
·9·   hit him.· I think that was a do you recall question.    ·9·   A· · · ·Correct.
10·   · · · · Did you ever act like you were going to hit     10·   Q· · · ·It wasn't something you were employed to do,
11·   him with your truck or hit him with your truck?         11·   correct?
12·   A· · · ·No, I've never hit him with the truck, I'm      12·   A· · · ·Correct.
13·   sure.· And no, I never -- I never made any attempt      13·   Q· · · ·That's not something that, if it happened,
14·   to run over Mr. Kulakowski, no.· I think that's what    14·   was serving in any positive way to WestRock,
15·   you asked.                                              15·   correct?
16·   Q· · · ·Yes.· You were asked about an incident in       16·   · · · · · · ·MS. COLLINS:· Objection to form.
17·   the shipping office and whether you recalled            17·   BY MS. DOHNER SMITH:
18·   throwing Mr. Kulakowski across a desk.· Is that         18·   Q· · · ·It wasn't in service?
19·   something you just don't recall or that didn't          19·   A· · · ·Right.
20·   happen?                                                 20·   Q· · · ·That's not something that WestRock would
21·   A· · · ·No, I didn't -- I didn't do that.               21·   expect a general manager to do?
22·   Q· · · ·Okay.· Part of your job responsibilities as     22·   · · · · · · ·MS. COLLINS:· Objection to form.
23·   the general manager would be to ensure that             23·   · · · · · · ·THE WITNESS:· To?
24·   WestRock's policies were complied with, correct?        24·   BY MS. DOHNER SMITH:
25·   A· · · ·Right.                                          25·   Q· · · ·To kick Mr. Kulakowski in the groin?
                                                    Page 67                                                       Page 69
·1·   Q· · · ·That includes the code of conduct?              ·1·   A· · · ·To actually hit?
·2·   A· · · ·Yes.                                            ·2·   Q· · · ·To kick him in the groin, to make contact
·3·   Q· · · ·That includes the anti-violence policy?         ·3·   and kick him in the groin?
·4·   A· · · ·Yes.                                            ·4·   A· · · ·Right.
·5·   Q· · · ·And that would include the anti-harassment      ·5·   Q· · · ·And that's not something that WestRock
·6·   policy?                                                 ·6·   authorized you to do, kick him in the groin?
·7·   A· · · ·Yes.                                            ·7·   A· · · ·Right.
·8·   Q· · · ·Hitting Mr. Kulakowski in his groin would       ·8·   Q· · · ·We're going to run through the same thing
·9·   not be part of your job duties, would it?               ·9·   with grabbing of the groin.· That's not something
10·   A· · · ·No.                                             10·   that's part of your job duties, correct?
11·   Q· · · ·That's not something you were employed by       11·   A· · · ·Right.
12·   the company to do, correct?                             12·   Q· · · ·It's not something you were employed to do?
13·   A· · · ·Correct.                                        13·   A· · · ·Correct.
14·   Q· · · ·And I'm not saying you did it, but that         14·   Q· · · ·Doing that would not be in service to
15·   would not be anything that was serving to WestRock      15·   WestRock in any way?
16·   in any way, correct?                                    16·   · · · · · · ·MS. COLLINS:· Objection to form.
17·   A· · · ·Correct.                                        17·   · · · · · · ·THE WITNESS:· Correct.
18·   Q· · · ·And that's not something that WestRock would    18·   BY MS. DOHNER SMITH:
19·   expect from you as a general manager, correct?          19·   Q· · · ·It's not something that WestRock would have
20·   · · · · · · ·MS. COLLINS:· Objection to form.           20·   expected you to do?
21·   · · · · · · ·THE WITNESS:· As far as hitting?           21·   · · · · · · ·MS. COLLINS:· Objection to form.
22·   BY MS. DOHNER SMITH:                                    22·   · · · · · · ·THE WITNESS:· Correct.
23·   Q· · · ·Actually hitting him in the groin.              23·   BY MS. DOHNER SMITH:
24·   A· · · ·Right.                                          24·   Q· · · ·And that's not something that WestRock would
25·   Q· · · ·Okay.· And you were never authorized by         25·   have authorized you to do?


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·1·   A· · · ·Correct.                                        ·1·   BY MS. DOHNER SMITH:
·2·   · · · · · · ·MS. COLLINS:· Objection to form.           ·2·   Q· · · ·And that is not something that authorized --
·3·   BY MS. DOHNER SMITH:                                    ·3·   or WestRock would have authorized you to do?
·4·   Q· · · ·Let's run through the same thing with           ·4·   A· · · ·No.
·5·   hitting Mr. Kulakowski with a broom.· That's not        ·5·   Q· · · ·And by no with those, you mean correct, that
·6·   something that would be part of your job duties?        ·6·   was a correct statement?
·7·   A· · · ·Correct.                                        ·7·   A· · · ·Correct.· I'm sorry.
·8·   Q· · · ·Not something you were employed to do?          ·8·   Q· · · ·All right.· Let's talk about the allegation
·9·   A· · · ·Correct.                                        ·9·   that you hit him with your truck or pretended to hit
10·   Q· · · ·Not something that would be in service of       10·   him with your truck.· That's not something that
11·   WestRock?                                               11·   would be part of your job duties?
12·   · · · · · · ·MS. COLLINS:· Objection to form.           12·   A· · · ·No.
13·   · · · · · · ·THE WITNESS:· Correct.                     13·   Q· · · ·And that is not something you were employed
14·   BY MS. DOHNER SMITH:                                    14·   to do?
15·   Q· · · ·Not something WestRock would have expected      15·   A· · · ·Correct.
16·   you to do?                                              16·   Q· · · ·Your earlier no, that means correct?
17·   · · · · · · ·MS. COLLINS:· Objection to form.           17·   A· · · ·Right.
18·   · · · · · · ·THE WITNESS:· I'm sorry.· I'm losing       18·   Q· · · ·Thank you.· That wouldn't be serving
19·   you now.                                                19·   WestRock in any way, correct?
20·   BY MS. DOHNER SMITH:                                    20·   A· · · ·Correct.
21·   Q· · · ·Sorry.· I think I'm getting a little softer.    21·   · · · · · · ·MS. COLLINS:· Objection to form.
22·   Sorry about that.                                       22·   BY MS. DOHNER SMITH:
23·   · · · · Hitting Mr. Kulakowski with a broom, that's     23·   Q· · · ·And that was not something WestRock would
24·   not something WestRock would have expected you to       24·   expect you to do, correct?
25·   do?                                                     25·   A· · · ·Correct.
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·1·   · · · · · · ·MS. COLLINS:· Objection to form.           ·1·   · · · · · · ·MS. COLLINS:· Objection to form.
·2·   · · · · · · ·THE WITNESS:· No.                          ·2·   BY MS. DOHNER SMITH:
·3·   BY MS. DOHNER SMITH:                                    ·3·   Q· · · ·And that's not something that you were
·4·   Q· · · ·And that's not something WestRock authorized    ·4·   authorized by WestRock to do, correct?
·5·   you to do?                                              ·5·   A· · · ·Correct.
·6·   A· · · ·No.                                             ·6·   Q· · · ·What about calling an employee a pussy, is
·7·   Q· · · ·Same thing with -- there's been an              ·7·   that something that would be part of your job
·8·   allegation that you unzipped your pants, exposed        ·8·   duties?
·9·   your penis and told Mr. Kulakowski to suck your         ·9·   A· · · ·No.
10·   dick.                                                   10·   Q· · · ·You weren't employed to call people that
11·   · · · · That's not something that would be part of      11·   term, were you?
12·   your job duties, correct?                               12·   A· · · ·No.
13·   A· · · ·No.                                             13·   Q· · · ·And if you had called somebody a pussy, that
14·   Q· · · ·That's not something you were employed to       14·   wouldn't be serving WestRock in any way, correct?
15·   do?                                                     15·   A· · · ·No.
16·   A· · · ·No.                                             16·   · · · · · · ·MS. COLLINS:· Objection to form.
17·   Q· · · ·That's not something that would be in           17·   BY MS. DOHNER SMITH:
18·   service to WestRock in any way?                         18·   Q· · · ·WestRock wouldn't expect you as a general
19·   · · · · · · ·MS. COLLINS:· Objection to form.           19·   manager to be calling employees pussies, correct?
20·   · · · · · · ·THE WITNESS:· No.                          20·   A· · · ·No.
21·   BY MS. DOHNER SMITH:                                    21·   · · · · · · ·MS. COLLINS:· Objection to form.
22·   Q· · · ·That is not something that WestRock             22·   · · · · · · ·THE WITNESS:· Correct.
23·   expected?                                               23·   BY MS. DOHNER SMITH:
24·   · · · · · · ·MS. COLLINS:· Objection to form.           24·   Q· · · ·And that's not something that WestRock would
25·   · · · · · · ·THE WITNESS:· No.                          25·   authorize and say, hey, call --


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·1·   · · · · · · ·MS. COLLINS:· Objection to the form.       ·1·   Q· · · ·Hitting Mr. Kulakowski with a broom would be
·2·   BY MS. DOHNER SMITH:                                    ·2·   a violation of company policy, correct?
·3·   Q· · · ·-- your employees pussies, correct?             ·3·   A· · · ·Correct.
·4·   A· · · ·Correct.                                        ·4·   Q· · · ·Hitting him with your car would be -- or
·5·   Q· · · ·Same thing with calling Mr. Kulakowski a        ·5·   your truck --
·6·   quote/unquote fucking Polak.· That wouldn't be part     ·6·   A· · · ·Correct.
·7·   of your job duties, correct?                            ·7·   Q· · · ·My husband doesn't want his truck called a
·8·   A· · · ·Correct.                                        ·8·   car, so...
·9·   Q· · · ·You weren't employed to do that, correct?       ·9·   A· · · ·Right.
10·   A· · · ·Correct.                                        10·   Q· · · ·So hitting him with your truck would not
11·   Q· · · ·And that wouldn't be serving WestRock in any    11·   be -- or would be a violation of company policy?
12·   way, correct?                                           12·   A· · · ·Correct.
13·   · · · · · · ·MS. COLLINS:· Objection to the form.       13·   Q· · · ·Calling Mr. Kulakowski a pussy, a stupid
14·   · · · · · · ·THE WITNESS:· Correct.                     14·   fucking Polak, or saying I'm going to fuck your
15·   BY MS. DOHNER SMITH:                                    15·   wife, those would be a violation of company policy,
16·   Q· · · ·And that is not something WestRock would        16·   correct?
17·   have expected you to do, correct?                       17·   A· · · ·Yeah.· And if I'm squirming, it's because
18·   · · · · · · ·MS. COLLINS:· Objection.                   18·   I'm just not used to hearing this language in mixed
19·   · · · · · · ·THE WITNESS:· Correct.                     19·   company.
20·   BY MS. DOHNER SMITH:                                    20·   Q· · · ·I'm sorry.· I grew up with four brothers, so
21·   Q· · · ·And that's not something that you were          21·   I've heard it all by now.
22·   authorized to do, correct?                              22·   A· · · ·Okay.· Well, yeah.· No, they don't expect me
23·   A· · · ·Correct.                                        23·   to do that.
24·   Q· · · ·There's also been an allegation by              24·   Q· · · ·And those would all be a violation of
25·   Mr. Kulakowski that you made a comment to him that      25·   company policy?
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·1·   he needed to stay late so you could go home and fuck    ·1·   A· · · ·Yes.
·2·   his wife.· Is that anything that you ever said to       ·2·   Q· · · ·Okay.· Employees receive a copy of the -- of
·3·   him?                                                    ·3·   the employee handbook, correct?
·4·   A· · · ·No.                                             ·4·   A· · · ·Yes.
·5·   Q· · · ·Would that be part of your job duties?          ·5·   Q· · · ·And that has a copy of the compliance
·6·   A· · · ·No.                                             ·6·   hotline in it; is that correct?
·7·   Q· · · ·Would that be something you were employed to    ·7·   A· · · ·Yes.
·8·   do?                                                     ·8·   Q· · · ·Now, the compliance hotline, that's also
·9·   A· · · ·No.                                             ·9·   posted at the --
10·   Q· · · ·Would that be something that was serving        10·   A· · · ·Yes.
11·   WestRock in any way?                                    11·   Q· · · ·-- facility, correct?
12·   A· · · ·No.                                             12·   A· · · ·It is.
13·   Q· · · ·Is that something WestRock would have           13·   Q· · · ·And that's been posted for years, correct?
14·   expected you to say to an employee?                     14·   A· · · ·Yes.
15·   A· · · ·No.                                             15·   Q· · · ·That's not something that just went up in
16·   · · · · · · ·MS. COLLINS:· Objection to form.           16·   2016.
17·   BY MS. DOHNER SMITH:                                    17·   A· · · ·No.
18·   Q· · · ·Is that something that WestRock authorized      18·   Q· · · ·That's been there for a long time?
19·   you to say to an employee?                              19·   A· · · ·Yes.
20·   A· · · ·No.                                             20·   Q· · · ·How far back can you recall the compliance
21·   Q· · · ·Now, actually, making contact, hitting,         21·   hotline being posted?
22·   kicking, grabbing Mr. Kulakowski in the groin, that     22·   A· · · ·Ever since we had one.
23·   would be a violation of WestRock's policies,            23·   Q· · · ·Do you know when that was?
24·   correct?                                                24·   A· · · ·I do -- it's been a long, long time.
25·   A· · · ·Correct.                                        25·   Q· · · ·Okay.


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·1·   A· · · ·Years and years.                                ·1·   A· · · ·No, it would not.
·2·   Q· · · ·And that's posted on the employee bulletin      ·2·   Q· · · ·And that would be a violation of policy?
·3·   board in the breakroom?                                 ·3·   A· · · ·Yes, it would.
·4·   · · · · · · ·MS. COLLINS:· Objection to form.           ·4·   Q· · · ·So you draw a distinction between the kind
·5·   · · · · · · ·THE WITNESS:· Well, the bulletin boards    ·5·   of act of pretending you're going to hit somebody
·6·   are not in the breakroom.                               ·6·   and then actually hitting somebody?
·7·   BY MS. DOHNER SMITH:                                    ·7·   A· · · ·Yes.
·8·   Q· · · ·Oh, okay.· Where are they?                      ·8·   Q· · · ·Okay.· Earlier you asked if you recalled
·9·   A· · · ·They're in the walkway --                       ·9·   whether you told employees that hotline complaints
10·   Q· · · ·Okay.                                           10·   came to you.· Is that something you just don't
11·   A· · · ·-- to the breakroom.                            11·   recall telling them or is that something you didn't
12·   Q· · · ·Okay.· And that's where that's posted?          12·   tell them?
13·   A· · · ·Yes.                                            13·   A· · · ·I'm sorry.· Say that -- I'm not sure I
14·   Q· · · ·All right.                                      14·   understood what you just asked me.
15·   A· · · ·Or that's where they were.· I don't know if     15·   Q· · · ·Sorry.· And I talk fast.· I'm from the
16·   they've been moved or not.                              16·   north.
17·   Q· · · ·Okay.                                           17·   A· · · ·No, that's okay.· I'm just not sure I
18·   A· · · ·When I was there, they were in the -- they      18·   understood what you said.
19·   were in the -- posted in the walkway.                   19·   Q· · · ·Earlier you were asked a question about
20·   Q· · · ·Okay.· Thank you.                               20·   whether you recall if you told employees that
21·   · · · · Throwing somebody across a desk, that's not     21·   hotline complaints came to you.
22·   something that would be part of your job duties,        22·   A· · · ·Okay.
23·   correct?                                                23·   Q· · · ·And you said no.· So do you just not recall
24·   A· · · ·Correct.                                        24·   that or is that something you didn't tell employees?
25·   Q· · · ·And that's not something you were employed      25·   A· · · ·I -- I did not tell employees that hotline
                                                    Page 79                                                       Page 81
·1·   to do?                                                  ·1·   complaints came to me.
·2·   A· · · ·Correct.                                        ·2·   Q· · · ·Okay.· Because they don't come to you,
·3·   Q· · · ·And that's not something that would be          ·3·   right?
·4·   serving to WestRock in any way?                         ·4·   A· · · ·They don't -- no, I don't get them.· Now, as
·5·   A· · · ·Correct.                                        ·5·   I did say earlier, I may be asked about them by
·6·   · · · · · · ·MS. COLLINS:· Objection to form.           ·6·   somebody like Terri Henley.
·7·   BY MS. DOHNER SMITH:                                    ·7·   Q· · · ·I think earlier you testified that with your
·8·   Q· · · ·That's not something WestRock expected you      ·8·   group of friends you would pretend, you know, to hit
·9·   to do?                                                  ·9·   them, but you wouldn't do that with female
10·   · · · · · · ·MS. COLLINS:· Objection to form.           10·   employees?
11·   · · · · · · ·THE WITNESS:· Correct.                     11·   A· · · ·Right.
12·   BY MS. DOHNER SMITH:                                    12·   Q· · · ·Why wouldn't you do that with female
13·   Q· · · ·And that's not something WestRock authorized    13·   employees?
14·   you to do?                                              14·   A· · · ·I'm not sure that -- they're just not that
15·   A· · · ·Correct.                                        15·   close a friendly relationship with female employees
16·   Q· · · ·I think you testified that this group of        16·   to do that.
17·   friends that would pretend to hit each other, it        17·   Q· · · ·Okay.· And you didn't engage in that type of
18·   wasn't expected that anybody was actually going to      18·   conduct, pretending to hit people, males that
19·   hit each other, was it?                                 19·   weren't your friends?· That's a horrible question.
20·   · · · · · · ·MS. COLLINS:· Objection to form.           20·   A· · · ·No, we didn't.
21·   · · · · · · ·THE WITNESS:· No, no.                      21·   Q· · · ·Did you understand what I asked?· For
22·   BY MS. DOHNER SMITH:                                    22·   example, men that weren't your friends, you didn't
23·   Q· · · ·And if they were actually hitting each other    23·   pretend to slap them in the groin either?
24·   in the groin, that would not be appropriate             24·   A· · · ·The men that you didn't know, yeah,
25·   workplace behavior?                                     25·   newcomers, those, no, didn't.


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·1·   Q· · · ·So it was just your male friends?               ·1·   Q· · · ·Yes.
·2·   A· · · ·Yeah.· It was the -- yeah, the group of         ·2·   A· · · ·I don't remember ever telling Keith that I
·3·   guys.· And that's what it amounted to, just a group     ·3·   was going to resign, no.· Now, I will say that I was
·4·   of guys that worked together, and they were very        ·4·   63 years old.· My intention would have been to
·5·   comfortable working with each other.                    ·5·   retire after 65.· And we were having discussions
·6·   Q· · · ·You've never threatened to terminate an         ·6·   about my retirement, but we had no discussion
·7·   employee if they reported you to the compliance         ·7·   about -- but I don't know about how much discussion
·8·   hotline?                                                ·8·   I had with Keith about that.· But no, I didn't have
·9·   A· · · ·No.                                             ·9·   any discussion about resigning.
10·   Q· · · ·Did you ever tell Mr. Kulakowski to work off    10·   Q· · · ·A moment ago you said that you were
11·   the clock?                                              11·   uncomfortable with some of the language that was
12·   A· · · ·No.                                             12·   used in mixed company, right?
13·   Q· · · ·Did you ever tell him that he couldn't punch    13·   A· · · ·Here, yes.
14·   in if he came back to work after he left during his     14·   Q· · · ·Would you also be uncomfortable with curse
15·   normal shift?                                           15·   words or the type of language that was used in mixed
16·   A· · · ·If he was called back?· No.                     16·   company in the workplace?
17·   Q· · · ·You expected he would punch in if he was        17·   A· · · ·Yes.
18·   called back to work?                                    18·   Q· · · ·So using that sort of language in the
19·   A· · · ·Yes.                                            19·   workplace was primarily around men or guys?
20·   · · · · · · ·MS. DOHNER SMITH:· That's it.              20·   · · · · · · ·MS. DOHNER SMITH:· Objection.
21·   · · · · · · ·MS. COLLINS:· I have a couple of           21·   · · · · · · ·THE WITNESS:· Yes.
22·   follow-up.                                              22·   · · · · · · ·MS. COLLINS:· That's all I have.
23·   · · · · · · · · E X A M I N A T I O N                   23·   · · · · · · ·MR. JOHNSTON:· Mr. Whited --
24·   BY MS. COLLINS:                                         24·   · · · · · · ·MS. DOHNER SMITH:· I'm sorry.
25·   Q· · · ·You were asked on cross-examination about       25·   · · · · · · ·MR. JOHNSTON:· Go ahead.
                                                    Page 83                                                       Page 85
·1·   cursing in the workplace.· Was that -- and you          ·1·   · · · · · · · · E X A M I N A T I O N
·2·   specifically said a bunch of redneck guys, something    ·2·   BY MS. DOHNER SMITH:
·3·   a bunch of redneck guys do --                           ·3·   Q· · · ·Did women at the -- working out on the floor
·4·   A· · · ·Okay.                                           ·4·   tend to cuss as well or use cuss words?
·5·   Q· · · ·-- right?                                       ·5·   A· · · ·Not in front of -- not in front of me. I
·6·   · · · · Was cursing in the workplace something that     ·6·   would hear occasionally somebody would.
·7·   happened on a regular basis?                            ·7·   Q· · · ·Okay.· All right.· So it's not that cussing
·8·   A· · · ·Cursing happened, yes.· Yes.                    ·8·   didn't go on in front of women; you just weren't
·9·   Q· · · ·You didn't write any employees up for           ·9·   there to hear it?
10·   cursing in the workplace, did you?                      10·   A· · · ·Right.
11·   A· · · ·No.                                             11·   Q· · · ·Okay.
12·   Q· · · ·You didn't have Mike Eden write -- or Larry     12·   A· · · ·And if it was -- I will go on to say, if it
13·   Eden write up employees for cursing in the              13·   was -- if this was loud, if this was broadcasted --
14·   workplace, did you?                                     14·   you know, when I mentioned counseling folks about
15·   A· · · ·No.· Now, that's not to say that we didn't      15·   some of this, yeah, we -- we didn't want it -- if
16·   coach or counsel people.                                16·   the two of you were sitting there having a
17·   Q· · · ·Would that have been documented?                17·   conversation and you wanted to keep it between the
18·   A· · · ·No.                                             18·   two of you, I don't care what kind of language you
19·   Q· · · ·Okay.· Do you recall calling Keith Hall and     19·   used.· You know, that would be between the two
20·   telling him that you were going to resign at the        20·   friends.· But that young lady down there didn't need
21·   beginning of 2017?                                      21·   to hear that.
22·   A· · · ·No.                                             22·   Q· · · ·Okay.
23·   Q· · · ·Do you dispute that you told him something      23·   A· · · ·I hope that answered the question.
24·   like that?                                              24·   · · · · · · ·MS. DOHNER SMITH:· It does.· That's it.
25·   A· · · ·That I was going to resign?                     25·   · · · · · · ·MS. COLLINS:· Your turn, if you have


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·1·   anything.                                               ·1· · · · · · · · ·REPORTER'S CERTIFICATE

·2·   · · · · · · ·MR. JOHNSTON:· Just quickly.               ·2

·3·   · · · · · · · · E X A M I N A T I O N                   ·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
                                                              ·4· Public and Court Reporter, do hereby certify that I
·4·   BY MR. JOHNSTON:
                                                              ·5· recorded to the best of my skill and ability by
·5·   Q· · · ·Mr. Whited, how long have you known
                                                              ·6· machine shorthand all the proceedings in the
·6·   Mr. Kulakowski?
                                                              ·7· foregoing transcript, and that said transcript is a
·7·   A· · · ·Actually, I think he worked for the plant
                                                              ·8· true, accurate, and complete transcript to the best
·8·   ten, eleven years.
                                                              ·9· of my ability.
·9·   Q· · · ·Okay.· And that -- and your knowledge of
                                                              10· · · · · · · ·I further certify that I am not an
10·   Mr. Kulakowski is through his employment at the
                                                              11· attorney or counsel of any of the parties, nor a
11·   plant, correct?
                                                              12· relative or employee of any attorney or counsel
12·   A· · · ·I met him just shortly before I hired him.      13· connected with the action, nor financially
13·   And then in way of explanation, he was working at       14· interested in the action.
14·   the facility that we leased, and I hired him from       15· · · · · · · ·SIGNED this 2nd day of January, 2018.
15·   that because of his forklift experience.                16
16·   Q· · · ·All right.· And over the course of that ten     17
17·   or eleven years, did you work with him more or less     18
18·   on a regular basis?                                     19
19·   A· · · ·Yes.                                            20· · · · · · · ·____________________________________
20·   Q· · · ·Interact with him frequently, two, three,       21· · · · · · · · · · Jerri L. Porter, RPR, CRR
21·   four times a week?                                      22· My Notary commission expires:· 2/19/2018
22·   A· · · ·Oh, absolutely, yes.                            23· Tennessee LCR No. 335
23·   Q· · · ·Over that period of time, did you develop an    · · Expires:· 6/30/2018
24·   opinion as to Mr. Kulakowski's truthfulness?            24

25·   A· · · ·Yes.                                            25

                                                    Page 87                                                            Page 89
·1·   Q· · · ·And what's that opinion?                        ·1· · · · · · · · · · · ·E R R A T A
                                                              ·2
·2·   · · · · · · ·MS. COLLINS:· Objection to form.
                                                              ·3· · · ·I, WILLIAM TOMMY WHITED, having read the
·3·   · · · · · · ·THE WITNESS:· Not truthful.
                                                              · · foregoing deposition, Pages 1 through 87, taken
·4·   · · · · · · ·MR. JOHNSTON:· Thank you.· That's all I
                                                              ·4· December 21, 2017, do hereby certify said
·5·   have.                                                   · · testimony is a true and accurate transcript,
·6·   · · · · · · ·MS. COLLINS:· That's all I have.           ·5· with the following changes, if any:
·7·   · · · · · · ·MS. DOHNER SMITH:· That's it.              ·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·8·   · · · · · · ·VIDEOGRAPHER:· This marks the end of       ·7· _____· ·_____· · ·______________________________
·9·   Disk 1 and it concludes the video deposition of         ·8· _____· ·_____· · ·______________________________

10·   William Tommy Whited.· We are off the record.· The      ·9· _____· ·_____· · ·______________________________
                                                              10· _____· ·_____· · ·______________________________
11·   time on the monitor is 11:15 a.m.
                                                              11· _____· ·_____· · ·______________________________
12·   · · · · · · ·FURTHER DEPONENT SAITH NOT.
                                                              12· _____· ·_____· · ·______________________________
13·   · · · · · · ·(Proceedings concluded at 11:15 a.m.)      13· _____· ·_____· · ·______________________________
14                                                            14· _____· ·_____· · ·______________________________
15                                                            15· _____· ·_____· · ·______________________________
16                                                            16· _____· ·_____· · ·______________________________
17                                                            17
18                                                            18· · · · · · ·______________________________
                                                              19· · · · · · · · · WILLIAM TOMMY WHITED
19
                                                              20
20
                                                              21
21                                                            22· ____________________________
22                                                            · · · · · Notary Public
23                                                            23· My commission expires:· _____________
24                                                            24
25                                                            25



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